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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
In re:                                                            :   Chapter 11
                                                                  :
                                                                  :   Case No. 14-11691 (SCC)
FL 6801 SPIRITS LLC, et al.,                                      :
                                                                  :   (Jointly Administered)
                                               Debtors.           :
------------------------------------------------------------------X
                                                                  :
NORTH CARILLON BEACH CONDOMINIUM                                  :
ASSOCIATION, INC.,                                                :
                                                                  :
                                               Plaintiff,         :   Adv. Pro. No. 16-
                                                                  :
                                    vs.                           :
                                                                  :
Z CAPITAL PARTNERS, LLC; Z CAPITAL                                :
FLORIDA RESORT, LLC; NORTH BEACH                                  :
DEVELOPMENT, LLC; CARILLON HOTEL AND :
SPA MASTER ASSOCIATION, INC.; SOUTH                               :
CARILLON BEACH CONDOMINIUM                                        :
ASSOCIATION, INC.; and CENTRAL CARILLON :
BEACH CONDOMINIUM ASSOCIATION, INC., :
                                                                  :
                                               Defendants.        :
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                                        COMPLAINT

       Plaintiff, North Carillon Beach Condominium Association, Inc. (“NCBCA” or

“Plaintiff”), acting on its own behalf and on behalf of its Unit Owners (“Unit Owners”), sues Z

Capital Partners, LLC and Z Capital Florida Resort, LLC (collectively with Z Capital Partners,

LLC, “Z Capital”, and individually “Z Florida” or the “Hotel Lot Owner”), North Beach

Development, LLC (“North Beach Development” or the “Retail Lot Owner”), Carillon Hotel and

Spa Master Association Inc. (the “Master Association”), South Carillon Beach Condominium

Association, Inc. (the “South Tower Condominium Association” or the “SCBCA”), and Central

Carillon Beach Condominium Association, Inc. (the “Central Tower Condominium Association”

or “CCBCA” and, together with NCBCA and SCBCA, the “Associations”), and in support

thereof states as follows:

                                   NATURE OF ACTION

       1.      This is an action for relief from Z Capital’s improper, unlawful and flagrant

exploitation of Plaintiff and the Unit Owners it represents at the Carillon development (the

“Property” or the “Carillon”). Z Capital, a self-described “opportunistic” private equity fund

from Chicago, fraudulently induced (a) the Unit Owners and NCBCA to drop their opposition to

and to support its acquisition of a portion of the Property known as the “Hotel Lot” (as defined

below) and (b) NCBCA to enter into a settlement term sheet, as hereafter described.

       2.      Following the Bankruptcy Court's approval of the Section 363 sale to it (the

“Bankruptcy Sale”), Z Capital has failed to deliver on its numerous representations and

contractual promises, dramatically and systematically reduced the quality of the operation,

management, maintenance, services and staffing at the Property, including in vital areas like

security, amenities, grounds maintenance, fitness classes and lectures, and the overall lifestyle

and enjoyment of the Property. The reductions in quality were brought about, in large part,


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through cost-saving measures imposed by Z Capital. All the while, Z Capital has not passed

along all of these cost savings to the Unit Owners and the reduction of services is impairing the

Unit Owners’ quality of life at the Property.

       3.      Even before it closed on its acquisition of the Property, Z Capital cut $2 million in

annual costs by improperly terminating the hotel and spa management and licensing contract

with the world-renowned Canyon Ranch fitness and health company. In addition, termination of

Canyon Ranch robbed the Unit Owners of Canyon Ranch’s unique expertise and aura, on whose

20-year management contract they had relied when buying and retaining their units. Having

improperly dismissed Canyon Ranch, Z Capital failed to replace its iconic brand with an

equivalently qualified and branded operator in health and fitness as promised. Instead, Z Capital

manages and operates the hotel and spa (the “Spa”) all by itself, without any relevant expertise,

without a well-known and respected brand, and with only financial engineering as a motive. Z

Capital’s self-serving actions have deprived Unit Owners of the expertise, aura and lifestyle they

had bought into and has directly caused a roughly 25% loss in the value of units, or an estimated

$150 million aggregate property value loss for the North Tower Unit Owners alone.

       4.      Z Capital has also denied NCBCA and the Unit Owners it represents any financial

transparency, accountability or support whatsoever, for the assessments and fees imposed upon

them despite their express rights to “inspect and audit” afforded under the Master Declaration (as

defined below).    Since Z Capital’s acquisition of the Hotel Lot, the assessments and fees

imposed upon all unit owners at the Property have exceeded $18 million on an annual basis.

       5.      Additionally, Z Capital has improperly denied the Associations their legitimate

control of what should be Common Elements (as defined below) of their condominiums and,

despite its status as a successor developer, has refused to relinquish control of the Master



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Association (as defined below) and to turn over control to the Master Association of what should

be the Master Association’s Common Areas (as defined below).

       6.      There are four components to Z Capital’s actionable conduct:             First, pre-

Bankruptcy Sale, Z Capital’s fraudulent, unconscionable, unfair and deceptive inducement of the

Unit Owners and the Associations, through false e-mails and other means, to withdraw their

objections to, and to support, Z Capital’s purchase of the Hotel Lot out of bankruptcy, and to

induce NCBCA’s entry into a term sheet (the “North Tower Term Sheet”); second, post-

Bankruptcy Sale, Z Capital has breached virtually all of the binding promises it made regarding

how the Property would be managed and operated; third, post-Bankruptcy Sale, Z Capital has

systematically breached many provisions of the Master Declaration, including without limitation,

provisions pertaining to (a) the allocation, imposition and determination of certain assessments

and fees and (b) the right of Plaintiff and its Unit Owners to “inspect and audit” financial records

pertaining to such assessments; and fourth, post-Bankruptcy Sale, Z Capital has systematically

violated certain applicable provisions of Florida’s Condominium Act and Homeowners’

Association Act, including, without limitation, by failing to (a) turnover developer control of the

Master Association to the non-developer members and (b) recognize, designate and relinquish

control over facilities that should be either “common elements” of Plaintiff’s condominium, or

“common areas” of the Master Association.

       7.      First, when Z Capital sought to acquire the Hotel Lot out of bankruptcy it faced

significant hurdles: the Associations and their Unit Owners were adamantly opposed to a sale of

their high-end health, fitness and wellness focused complex to a private equity fund that had no

relevant experience managing or operating a property of the Carillon’s nature and caliber but,

instead, is known for, and indeed prides itself on, its “opportunistic approach” to investing and



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financial value extraction. The Associations and their Unit Owners were deeply concerned that

Z Capital’s purchase would be disastrous for property values, and to the very particular health,

wellness and fitness focused lifestyle which was fundamental to the nature of their community.

Instead, the Associations and the Unit Owners initially supported an alternative bid by a group of

residents at the Property known as the “6801 group”, which proposed a favorable plan of

reorganization for the Debtors, the continuation of the Canyon Ranch brand and operation for the

Spa and its health, wellness and fitness focus essential to them, and the operation of the hotel

under a well-respected flag.

       8.      Recognizing that its bid was in trouble, Z Capital embarked upon an extensive

campaign of false promises and representations in e-mails to the Unit Owners, stating, among

other things, that if its acquisition were approved, Z Capital would either retain the existing

brand and operator, Canyon Ranch, or bring another, similarly high-end and renowned five-star

brand to the property, all while maintaining the integral focus on healthy living, serenity and

general fitness. Z Capital explained that it “underst[oo]d that many, if not all of you, bought into

the health and wellness lifestyle and amenities that the property provides, and you likely paid a

premium for it,” and that if Z Capital were the successful bidder, “[t]his fundamental character

will not change. Period.” To this end, Z Capital represented to the Associations and to this

Court that it had created a joint venture (the “Zecha/Breene JV”) with Adrian Zecha, founder of

Amanresorts and GHM Ltd, and Jonathan Breene, developer and creator of The Setai residences

and condo-hotel in Miami Beach, to launch a new luxury hotel flag, the “Talai”, with the

Property as its flagship property.

       9.      These representations were responsible both for inducing NCBCA and the Unit

Owners it represents to withdraw their opposition to Z Capital’s bid and for swaying their



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support in favor of Z Capital, and for inducing the NCBCA to enter into the Term Sheet with Z

Capital. Unfortunately, Z Capital’s representations were simply false, deceptive and unfair and

apparently made solely to neutralize all of the Associations’ and unit owners’ resistance to its bid

for the Hotel Lot. As a consequence, Z Capital, to the detriment of the Unit Owners, was able to

gain control over a property that it had no expertise or experience in operating, but which offered

rich opportunities for financial restructuring and value extraction.

       10.     Second, once in the ownership position, Z Capital ignored the promises and

binding commitments it had made and committed numerous material breaches of its contractual

obligations. In the North Tower Term Sheet, Z Capital promised that the Hotel Operator would

be the Zecha/Breene JV and that Z Capital would make good faith efforts to negotiate with

Canyon Ranch to remain in the Spa only. The agreement also promised a level of service

equivalent or comparable to the Acqualina in Sunny Isles Beach, St. Regis in Bal Harbour and

the Ritz-Carlton in Ft. Lauderdale. But today, instead of the hotel, Spa, restaurant and campus

being operated under the Talai “premier, luxury flag”, everything is run exclusively by Z Capital.

There is no Zecha/Breene JV, no Talai flag, and there never was. Moreover, instead of the Spa,

health, wellness and fitness operations being run by the original operator, Canyon Ranch, or by

the Zecha/Breene JV or another third-party operator of similar expertise and brand aura, these

facilities are now under the exclusive control of Z Capital, under the old “Carillon” name.

Carillon is not a brand, much less a 5-star brand, but merely the name of the prior hotel on the

Property prior to its being re-developed as “Canyon Ranch Miami.” The Carillon is being

operated solely by Z Capital with an emaciated and inexperienced local management team,

without any refined management approach or any hospitality marketing muscle, with drastic

cost-cutting measures being implemented by Z Capital’s financial engineers in Chicago who lack



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any objective experience and expertise in high end hospitality and health, wellness and fitness.

As a result, the room rates and reputation of the Property have plummeted to the point that

rooms, along with spa treatments and food and beverage deals, are offered on deep-discount

web-sites such as “Travel-Zoo”, casting a down market shadow over the entire Property.

       11.     This arrangement provides none of the talents, experience and resources of the

owners and operators of some of the world’s finest resorts and residences as Z Capital promised.

Instead, the current arrangement affords significant cost-savings for Z Capital. As a result, in a

Miami-Beach market that is booming, the Unit Owners have seen the value and the liquidity of

their condominium units fall precipitously relative to comparable properties, as the service

quality, brand aura, and high end health, wellness and fitness lifestyle (for which they purchased

and retained their units and for which the Property had become known) have been eroded away.

       12.     Third, Z Capital has continually denied and deprived Plaintiff and its Unit

Owners of their rights and protections under, and has systematically breached and violated, the

Master Declaration. For example, despite repeated requests and demands from NCBCA, Z

Capital has refused to provide any financial books or records, or other financial transparency or

accountability for the general and special assessments imposed upon the Unit Owners, other than

bare-bones operating budgets, in clear violation of NCBCA’s rights under the Master

Declaration to “inspect and audit” the books and records for the shared facilities. Additionally, Z

Capital has been imposing upon the Unit Owners improper assessments and fees, in a manner

that violates the Master Declaration, including, but not limited to, (a) assessments that fail to

accurately account for the reduced expenses resulting from Z Capital’s drastic cost-savings

measures, (b) improperly assessing, or over-assessing, Unit Owners for all or most of the




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expenses for certain facilities, and (c) imposing and collecting special assessments from the Unit

Owners for all or substantially all expenses for renovation of the hotel lobby and reception areas.

       13.     Finally, Z Capital has systematically violated protections that the Florida

Condominium Act (Chapter 718) and the Florida Homeowners’ Association Act (Chapter 720)

afford to Unit Owners. Z Capital has: (a) interpreted and/or implemented certain provisions of

the Master Declaration in a manner that is not fair and reasonable, in violation of Sections

718.302 and 720.309, Fla. Statutes, or otherwise in a manner that is arbitrary and capricious,

and/or unconscionable, in violation of Florida law; (b) failed to turn over control of the Master

Association, and retained post-turnover, successor-developer control of the board of the Master

Association, including super-majority voting rights, and has unilaterally amended the Master

Declaration, in violation of Florida law; (c) failed to recognize or permit the Plaintiff’s right to

own, operate and/or control certain areas within the North Tower building, intended solely or

primarily for use by its Unit Owners, and their tenants and guests, which fall squarely within the

definition of “common elements” under the Florida Condominium Act; (d) failed to recognize or

permit the Master Association’s right to operate and control certain facilities and other areas,

intended solely or primarily for use by unit owners in the Community, and their tenants and

guests, which fall squarely within the definition of “common areas” under the Florida

Homeowners’ Association Act; (e) embedded a recreational lease within the Master Declaration,

in such a manner as to deprive Unit Owners of the legal protections they are entitled to against an

abusive recreational lease; and (f) modified, and plans to further modify, the Property in a

manner that destroys the general plan of development, as a community with a primary focus on

health, wellness and fitness, in violation of protections afforded under the Florida Homeowners’

Association Act, and/or other applicable law. These egregious, deceptive, unfair and



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unconscionable abuses are exemplified by Z Capital’s current plan to dramatically change the

nature of the Property by rebranding the hotel as a self-described “Rat-Pack” themed destination

in stark contrast to the health and wellness focus embodied by its redevelopment in 2008.

       14.     In summary, this is an action for relief from multiple forms of predatory deceit

and exploitation of all Unit Owners by a private equity fund that gained control over this

Property based on fraudulent misrepresentations and other misconduct. Plaintiff asks the Court

to address these fraudulent, deceptive, unfair and unconscionable acts and practices by Z Capital,

to stop these egregious breaches of contract and law, to compensate Plaintiff for the substantial

losses incurred, to provide Plaintiff with the benefit of its bargain and to end this unconscionable,

unfair, deceptive and unreasonable abuse of power and predatory exploitation of the NCBCA

and its Unit Owners.

                                 JURISDICTION AND VENUE

       15.     This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157 and 1334. Venue is proper in the Southern District of New York pursuant to 28 U.S.C.

§ 1409(a). This adversary proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                            PARTIES

       16.     The North Carillon Beach Condominium Association, Inc., is a Florida not-for-

profit corporation located in Miami-Dade County, Florida, and is a condominium association

organized pursuant to the provisions of Chapter 718 of the Florida Statutes, for the North

Carillon Beach Condominium (the “North Tower”). The North Tower was established as a

condominium by the recording of its Declaration of Condominium on August 27, 2008 in

Official Records Book 26542 at Page 15 of the Miami-Dade County public records (the “North

Tower Condominium Declaration”). Control of the association was turned over by the developer

to the Unit Owners on or around February 7, 2013. Plaintiff brings this action pursuant to

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Section 718.111, Fla. Stat., and Florida Rule of Procedure 1.221 in its own right and as the

lawful representative of Unit Owners of the North Tower. The causes of action brought by this

Complaint concern matters of common interest to most or all of the Unit Owners.

       17.     Z Capital Partners, LLC, is a Delaware limited liability company with offices in

New York, New York; Lake Forest, Illinois; and Zurich, Switzerland. Z Capital Partners, LLC,

stands in the shoes of the original Hotel Lot Owner and the original developer of the Carillon,

after entering into a purchase agreement to purchase certain Carillon assets pursuant to the

Bankruptcy Court's November 2014 order (the “Sale Order”).

       18.     Z Florida is a Delaware limited liability company with its principal place of

business in Lake Forest, Illinois that is registered to transact business in Florida. Z Capital

Partners, LLC, assigned its interests to its affiliate Z Capital Florida Resort, LLC.

       19.     North Beach Development is a Florida limited liability company with its principal

address in Miami Dade County, Florida. North Beach Development recently purchased the

Retail Lot at the Carillon from Z Capital. North Beach Development is listed as a defendant in

this action solely pursuant to Section 86.091, Fla. Stat., since it may be affected by the

declaratory relief sought herein.

       20.     The Master Association is a Florida not-for-profit corporation located in Miami

Dade County, Florida. The Master Association was established by a Declaration of Covenants,

Restrictions and Easements recorded on December 3, 2007 in Official Records Book 26080 at

Page 4905 of the Miami-Dade County Public Records (as amended, the “Master Declaration”),

in order “to ensure the orderly development, operation and maintenance of the Properties”, as

stated in Section 8.1 thereof. The Master Declaration was amended on August 8, 2008 to

supplement the definition of the Hotel Lot. The amendment was recorded in Official Records



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Book 26542 at Page 1 of the Miami-Dade Public Records.                 The Declarant’s rights and

obligations under the Master Declaration were assigned to Z Florida by Assignment of

Declarant’s Rights, recorded in Official Records Book 29469 at Page 3199 of the Miami-Dade

Public Records, pursuant to which it became the successor to the original developer. The Master

Association is listed as a defendant in this action solely pursuant to Section 86.091, Fla. Stat.,

since it may be affected by the declaratory relief sought herein.

       21.        The SCBCA is a condominium association organized pursuant to the provisions

of Chapter 718 of the Florida Statutes for the South Carillon Beach Condominium (the “South

Tower”).     The South Tower was established as a condominium by the recording of its

Declaration of Condominium on December 3, 2007 in Official Records Book 26080 at Page

4764 of the Miami-Dade County public records (the “South Tower Condominium Declaration”).

The South Association is listed as a defendant in this action solely pursuant to Section 86.091,

Fla. Stat., since it may be affected by the declaratory relief sought herein.

       22.        The CCBCA is a condominium association organized pursuant to the provisions

of Chapter 718 of the Florida Statutes for the Central Carillon Beach Condominium (the “Central

Tower”).     The Central Tower was established as a condominium by the recording of its

Declaration of Condominium on October 15, 2008 in Official Records Book 26610 at Page 735

of the Miami-Dade County public records (the “Central Tower Declaration”). The Central

Association is listed as a defendant in this action solely pursuant to Section 86.091, Fla. Stat.,

since it may be affected by the declaratory relief sought herein.

                                   FACTUAL BACKGROUND

                                          THE PROPERTY

       23.        The Property first opened in 1958, in the form of a single building known as The

Carillon Hotel.

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       24.     Around 2008, the Property was redeveloped into a much larger project comprised

of condominium units, located in two newly-constructed towers, and the fully-renovated Central

Tower, with hotel and spa amenities and facilities which include a restaurant, bar, health and

wellness and retail facilities, as well as a large and well equipped Spa and treatment area.

       25.     With the 2008 redevelopment, the Property became operated by Canyon Ranch

and marketed and known as Canyon Ranch Miami Beach. Canyon Ranch is renowned for its

world leadership in high-end integrated health, wellness and fitness management. Since Canyon

Ranch first began operations, it received countless awards and accolades for its innovative

approach to health and fitness, advancing especially the concept of healthy aging, and for the

serene, relaxing and inspiring spa environments.

       26.     Part of Canyon Ranch’s innovative approach included expanding the concept of a

spa resort by introducing an integrated health and wellness approach, with a staff that included

registered nutritionists, board-certified physicians, exercise physiologists, acupuncturists,

licensed physical therapists and other highly skilled, caring staff in order to provide guests with

preventative and therapeutic health and wellness resources. Under Canyon Ranch’s direction, all

restaurants on the Property offered only health-oriented and highly informative menus. These

and other innovations were implemented at the Property to widespread international critical

acclaim.

       27.     Unit Owners, when they bought into the Property, were attracted by the promise

that they would be part of a “university of healthy aging”. They purchased and/or retained their

units in reliance on Canyon Ranch’s much mentioned long-term management contract at the

Carillon which would be in effect through 2028 and the certain lifestyle of health, wellness,

casual comfort and amenities associated with the Canyon Ranch management and brand. In fact,



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the Canyon Ranch brand and lifestyle allowed the original developer to sell these units at a

substantial premium over otherwise comparable units in the relevant market.

             ASSOCIATIONS, DECLARATIONS, PROPERTY CATEGORIES, UNIT TYPES

       28.     The North, Central and South towers (each, a “Tower” and collectively, the

“Towers”) each have their own condominium declaration and are governed by their own

condominium association. The Master Declaration governs the rights not only of the unit owners

in the Towers and their respective condominium associations, but also the Hotel Lot Owner (now

Z Capital) and the Retail Lot Owner. In case of a conflict between any of the condominium

declarations and the Master Declaration, the Master Declaration prevails.

       29.     The Master Declaration provides for a Master Association, whose purpose, as

stated in Section 8.1 thereof, is “to ensure the orderly development, operation and maintenance

of the Properties.”

       30.     Turnover is defined, according to the Homeowners’ Association Act, as occurring

when 90% of the units and other parcels in the community have been conveyed to someone other

than the declarant. Here, the Articles of Incorporation for the Master Association contain a

similar provision. Prior to turnover, the Master Association has six voting members. There are

five Class A voting members: the Condominium South Lot, the Condominium Central Lot, the

Condominium North Lot, the Retail Lot, and the Hotel Lot. The Master Association also

provides for a single Class B voting member: the Declarant (which may or may not be the same

as the Hotel Lot Owner). Until turnover, the declarant or successor-declarant (presently Z

Florida), by virtue of its Class B voting membership, is guaranteed a voting majority by the

Articles of Incorporation of the Master Association.

       31.     Under Section 720.307(1) of the Homeowners’ Association Act, after turnover,

members of a master association, other than the developer, are entitled to elect at least a majority
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of the members of the board of directors of the master association. At the Carillon, however,

although the declarant’s Class B membership terminates at turnover, the Articles of

Incorporation of the Master Association still guarantee the Hotel Lot Owner a majority of the

votes in the Master Association by allotting the Hotel Lot Owner five of the nine votes after

turnover and only one vote each to the North, Central and South condominium associations and

the Retail Lot Owner. This is the case even if the Hotel Lot Owner is the developer.

       32.    This allocation of post-turnover voting rights also violates Section 720.307(3)

which states: “After the developer relinquishes control of the homeowners’ association, the

developer may exercise the right to vote any developer-owned voting interests in the same

manner as any other member, except for purposes of reacquiring control of the

homeowners’ association or selecting the majority of the members of the board of

directors.” (emphasis added).

       33.    The Master Declaration divides the Property into four categories:

       a)     “Condominium Shared Facilities” are facilities that serve either one Tower

              exclusively or one Tower and the Hotel Lot, but not the other Property lots. In

              this category there are the Condominium North Shared Facilities, Condominium

              Central Shared Facilities and Condominium South Shared Facilities.

       b)     “Non-Retail Shared Facilities” serve either the Central Tower, North Tower, and

              the South Tower exclusively, and/or the Hotel Lot, the Central Tower, North

              Tower, and the South Tower only, but not the Retail Lot.

       c)     The “General Shared Facilities” are areas that serve all the Property lot owners,

              including the Retail Lot owner.




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       d)      Finally, “Common Property” is all other property at the Carillon complex that

               does not fall under any of the above categories.

       34.     Under the Master Declaration, the Condominium Shared Facilities, the Non-

Retail Shared Facilities, and the General Shared Facilities are all part of the Hotel Lot and owned

exclusively by the Hotel Lot Owner. The Hotel Lot Owner also manages and maintains the

various categories of shared facilities and unilaterally sets the assessment levels for doing so,

even though the unit owners in the Towers pay all or most of the costs of maintaining and

operating the different categories of expenses in the shared facilities budgets.

       35.     The Property’s four categories and allocation of control over those categories

established by the Master Declaration are at odds with the Florida Condominium Act and the

Florida Homeowners’ Association Act.

       36.     The Florida Condominium Act defines “common elements” as the portion of

condominium property not included in the units and serving unit owners collectively. See Fla.

Stat. §§ 718.103(8) and 718.108. Under the Florida Condominium Act, all or most of the

Condominium Shared Facilities should be common elements of the respective condominium

with the budget for the common elements set by the applicable condominium association.

       37.     Because the Property is primarily residential in nature, composed of three

condominium towers as well as a hotel lot and a retail lot, the Florida Homeowners’ Association

Act applies to the overall community. The Florida Homeowners’ Association Act governs

communities with homeowners’ associations which are primarily residential, including those that

include multiple, separate condominium parcels. Under the Florida Homeowners’ Association

Act, “common areas” are defined as “all real property within a community which is owned or

leased by an association or dedicated for use or maintenance by the association or its



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members, including, regardless of whether title has been conveyed to the association.”

(emphasis added). Fla. Stat. 720.301(2). Under the Florida Homeowners’ Association Act, all

or most of the Non-Retail Shared Facilities and the General Shared Facilities and certain portions

of the Spa, should be common areas under the maintenance, operation and control of the Master

Association with the budget for the common areas set by the Master Association, as “Common

Property,” as defined by the Master Declaration.

       38.     While the North and South Towers have only traditional units, the Central Tower

has several types of units. Traditional units are individually furnished and decorated, and are not

rentable for periods of six months or less. The North Tower contains 207 traditional residential

units and the South Tower contains 143 traditional residential units. The Central Tower contains

231 units, of which 80 are traditional residential units, 59 units are uniformly decorated hotel

rooms, which Z Florida purchased from individual homeowners following the Bankruptcy Sale,

91 are transient units which are individually owned by other unit owners (some of which are

uniformly decorated and participate in the Carillon Hotel’s Rental Property Agreement (“RPA”)

program, and some are individually furnished and decorated but can be rented on a transient

basis outside the RPA program), and one is a “shared components” unit owned by Z Florida,

which is comprised of the hotel hallways from the second to the tenth floors.

                           THE PROPERTY IS PUT UP FOR SALE

       39.     The Property was known to be for sale since summer 2013. A group of Unit

Owners, referred to as “6801”, emerged and expressed its interest in acquiring the Hotel Lot. The

central motive of “6801” was to ensure that the Property’s high-end health and wellness

emphasis and the Canyon Ranch brand and lifestyle, and its impact on property values were

safeguarded.



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       40.     On or around June 1, 2014, the entities that developed Canyon Ranch Miami

Beach filed a voluntary petition under chapter 11 of the United States Code, 11 U.S.C. §§ 101,

et. seq., in the United States Bankruptcy Court for the Southern District of New York.

       41.     When the Debtors’ chapter 11 cases were filed, there were two lawsuits pending

against the then equity owner, an affiliate of Lehman Brothers (“Lehman”). Plaintiff's suit was

about life style, and the other two Associations jointly sued about double charging.

       42.     After commencement of the chapter 11 cases, the “6801” group continued to

express its interest in acquiring the Hotel Lot either through a sale or a plan of reorganization.

                           Z CAPITAL’S WRONGFUL CONDUCT

I.     Fraudulent Inducement, Unconscionable, Deceptive & Unfair Acts & Practices

       A.      Z Capital’s Pre-Bankruptcy Sale Deception of Unit Owners Through Its E-Mail
               Campaign

       43.     The Debtors announced on August 21, 2014 that Z Capital submitted the “highest

Qualified Bid” for the Debtors’ interest in the Hotel Lot. One of the Debtors’ principal decision

makers was a Managing Director at Lehman Brothers, Ms. Joelle Halperin, who in the spring of

2016 would join Z Capital as a Managing Director.                 Immediately after the Debtors’

announcement, Z Capital and the Debtors encountered pronounced resistance from the

Associations and their respective Unit Owners to the sale of the Hotel Lot to Z Capital.

       44.     Because of the “6801” organizational efforts and Unit Owners’ general skepticism

that Z Capital would be a suitable manager of the Property, Z Capital engaged in a campaign of

false and deceptive representations to the Court, the Associations, and the Unit Owners regarding

its plans for the Property. These representations related to the retention of Canyon Ranch and

promises to maintain the Property with its unique focus on health, wellness and fitness and a

commitment to a joint venture, headed by world-renowned hoteliers (i.e., the Zecha/Breene JV),


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that would operate and re-brand the hotel and do so as a five-star facility. Indeed, Z Capital

purported to have a whole new brand concept ready, with an Asian wellness focused concept

called “Talai”, for which the Property would become the launch platform and long term

“flagship.”

       45.     For example, on September 12, 2014, Z Capital represented that it “intend[ed] to

not only maintain the Canyon Ranch sort of status and prestige, but to even elevate it.” Sept. 12

Hr’g Tr., 34:22-35:1 [Docket No. 147].

       46.     On or about September 29, 2014, Z Capital submitted a letter through its counsel

to the Bankruptcy Court “to update the Court on the status of [Z Capital’s] plans for the

operation of Canyon Ranch Miami.” Letter to Court filed by James J. Ktsanes on behalf of Z

Capital [Docket No. 149] at 1. In its court filing, Z Capital represented the following:

       a)      “As we have repeatedly told the Debtors, the Court and the objecting

               homeowners’ associations [], Z Capital is committed to maintaining or even

               improving the standards at the Property. Since the auction, we have been in

               negotiations with Canyon Ranch and other five-star hotel and spa operators to

               allow us to deliver on that promise.” Id. at 1 (emphasis added).

       b)      “We are pleased to report that Z Capital has executed an agreement today that

               will create a joint venture with Adrian Zecha, founder of Amanresorts and GHM

               Ltd, and Jonathan Breene, developer and creator of The Setai, South Beach, to

               launch a new luxury hotel flag, with the Property as its flagship property. The

               Property will be enhanced and operated to meet the physical and operational

               luxury standards of Mr. Zecha’s other 5-star resorts – widely regarded as among

               the very finest in the world.” Id. (emphasis added).



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       c)     “The Property will be the first project of the joint venture, which will create a

              premier, luxury flag. . . We believe this announcement demonstrates Z Capital’s

              commitment to the Property.          It should also eliminate any concern that

              homeowners will enjoy anything less than the standards they expected when they

              bought into the Property, as well as the claims of the Associations that Z Capital

              is not a hotel operator and is interested in only a ‘free option’ or short-term

              economic flip.” Id. at 2.

       47.    On or about September 29, 2014, Z Capital sent an e-mail to all Unit Owners

explaining that Z Capital “has entered into an agreement with Adrian Zecha, founder of

Amanresorts and GHM Hotels Ltd, and Jonathan Breene, developer and creator of The Setai,

South Beach, to launch a new luxury hotel flag, with the Carillon Hotel and Spa as its initial

flagship property.” Sept. 29, 2014 e-mail from Z Capital, “Z Capital Message To Carillon

Homeowners.” The e-mail went on to explain: “The Carillon Hotel and Spa will be the first

project of the joint venture, which is expected to create a premier, luxury flag with exclusive,

unique locations around the world. Mr. Zecha has created award-winning resorts in Indonesia,

Oman, Switzerland, and Vietnam, which are synonymous with style, service and serenity.” Id.

The e-mail emphasized Zecha and Breene’s connections to well-known and established luxury

brands. For example, it explained that “[a]s the founder of world renowned Amanresorts and

GHM Hotels, Mr. Zecha is celebrated for developing distinctive properties that redefine the

destinations in which they are set.” Likewise, it elaborated on Breene’s role in The Setai: “Mr.

Breene’s depth of real estate experience combined with his broad international perspective on

development has helped to establish a unique vision for The Setai. Mr. Breene was responsible




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for the development and creation of The Setai, South Beach, where his efforts drove

unprecedented value for homeowners.” (Emphasis added).

       48.     On or about October 3, 2014, Z Capital sent an e-mail to the Unit Owners

representing that Canyon Ranch Miami Beach would, upon its acquisition by Z Capital, “be a

true 5-star Adrian Zecha branded property.” (Oct. 3, 2014 e-mail from Z Capital Partners,

“Carillon – The new vision by Zecha, Breene & Z Capital.”) Recognizing the importance of

creating the right brand, Z Capital informed Unit Owners: “Each of Mr. Zecha’s 5-star properties

has a unique design, finish and feel with an individualized brand name to match. Like choosing

the name for your child, we want it to be just right. Rest assured it will be tasteful, classy, and

will convey the sense of luxury for which Mr. Zecha is known. Everyone will know this is a

‘Zecha’ property.” Id. (emphasis added). Emphasizing Zecha’s importance and his connection

to other world-renowned properties, the e-mail stated: “The offerings will be enhanced by

thoughtfully incorporating touches from Adrian Zecha’s incomparable properties with treatments

and services infusing a holistic approach to wellness of the mind and body that has been

mastered through the ages. . . If you have ever been to one of Mr. Zecha’s properties, we think

you will agree that the level of service has no equal. We plan to upgrade the service at the

property to meet or exceed the strict, world-class standards set for all of his 5-star properties.”

Id.

       49.     In the same e-mail to the Unit Owners, Z Capital explained that it “underst[oo]d

that many, if not all of you, bought into the health and wellness lifestyle and amenities that the

property provides, and you likely paid a premium for it. . . This fundamental character will not

change. Period.” Id. In an acknowledgement that its representations regarding the five-star

nature of the Property and the services provided by Canyon Ranch and its commitment to



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operating the hotel at a five-star level would impact property values, Z Capital explained that

these decisions “will impact [Unit Owners’] home values for years to come.” Id. (emphasis

added).

          50.   Finally, the same e-mail stated that Z Capital “will have an ownership interest in

the management company joint venture with Adrian Zecha and Jonathan Breene for which this

property will be the showcase and a platform for future development. . . We believe we’ve

assembled a “dream team” of operators tailored to the property. Mr. Zecha has been the

genius behind many of the world’s greatest luxury hotels and provides a global influence for a

truly international destination. Jonathan Breene, having developed the premier luxury property

in recent Miami history, brings the local connections to ensure the property amenities are

relevant and fitting to a property of its stature.” Id.

          51.   On or about October 8, 2014, Z Capital sent another e-mail to the Unit Owners

stating that it acknowledged they “bought into the Canyon Ranch lifestyle,” that Z Capital had

“every intention of preserving (and protecting!) the sanctuary that you have enjoyed at Canyon

Ranch.” Oct. 8, 2014 e-mail from Z Capital, “Z Capital FAQ for Homeowner Review.”

          52.   In the same e-mail, Z Capital again discussed the Zecha/Breene JV, and its

importance for branding: “the Property’s affiliation with Mr. Zecha will signal to both

prospective owners and guests that the Property is among the finest in the world, which we

believe will drive hotel revenue with some of the highest Average Daily Rates in the market.”

Id.

          53.   On or about October 16, 2014, the Bankruptcy Court explicitly discussed the

impact of Z Capital’s earlier letter from counsel and remarked that “even if I who have little time

off recognize those two names and will take judicial notice of the fact that they are high-end



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operators. . .” Id. The court also noted that “the homeowners are highly sensitive to what they

view as a degradation of their – of the lifestyle that they believe they are entitled to being unit

owners.” Id. at 39:16-20.

       54.     On October 26, 2014, Z Capital sent another e-mail to Unit Owners

“announc[ing] the unveiling of the new brand Adrian Zecha developed with you in mind –

Talai – which will embody the ethos of service, health and wellness at luxury properties

around the world. Your property will be the flagship to showcase all that we have in mind.” Oct.

26, 2014 e-mail from Z Capital, “Z Capital Introduces New Luxury Hotel Flag to Homeowners.”

       55.     In the same e-mail, Z Capital represented: “Your message was heard loud and

clear – many of you want Canyon Ranch to remain involved with the property. As we considered

it further, the combination of Adrian Zecha and Canyon Ranch has exceptional potential for

value creation at the property. We propose to retain Canyon Ranch in the spa, provided the

interest is mutual - with some encouragement by you we believe they will be a willing partner.

If Canyon Ranch chooses to move on, Talai will operate the classes, health, wellness and spa

consistent with the service levels to which you are accustomed, retaining the best instructors,

while adding touches from Adrian Zecha’s world renowned spas.” Id. (emphasis added).

       56.     The same e-mail included an attachment describing in detail the plans for this

supposed “flagship” of the new Talai brand and the Zecha/Breene JV that would run it. Toward

the end of the attachment, Z Capital represented to the Unit Owners that Jonathan Breene “was

responsible for the development and creation of The Setai, South Beach, where his efforts drove

unprecedented values for homeowners, as shown on the following page.” The “following page”

reflected “Average Sales per sq. ft.” from 2001-2014. In 2001, there was a “$705/Sq Ft”

average. By 2014, there was a “$2,981/Sq Ft” average. Id., attachment, at 26-27.



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       57.     The Unit Owners and NCBCA, through the constant barrage of promises by Z

Capital, were unlawfully deceived into believing Z Capital would deliver on these specific

promises.    As set forth below, Z Capital has since failed to live up to any of these

representations.

       B.      Z Capital’s Fraudulently Induces The Associations To Enter Into The Term
               Sheets

       58.     Z Capital knew that it needed the support of not only the Unit Owners but also the

Associations that represented them to gain approval of its bid to purchase the Hotel Lot and to

avoid the claims they had and might continue to file, press or augment. Z Capital therefore

began negotiating with the Associations to obtain their support.

               1.     The Term Sheet With The South And Central Towers

       59.     These negotiations first culminated in Z Capital entering into a Term Sheet with

the South and Central Towers on or about October 28, 2014. Among the obligations agreed to in

the South/Central Term Sheet, the following are particularly relevant:

       a)      Hotel Operator: Z Capital promised that the Hotel Operator would be “[a] joint

               venture among Adrian Zecha, Jonathan Breene and Z Capital, to be led by Tom

               Wicky.” Id. at 2.

       b)      Spa: Recognizing that the South and Central Towers “wish[ed] to retain Canyon

               Ranch as the hotel and spa operator,” id. at 1, Z Capital promised that it would

               “make good faith efforts to negotiate with Canyon Ranch to remain in the spa

               only and further, provided that Z Capital can reach agreement on economic and

               operational terms, Z Capital will agree to have Canyon Ranch remain the spa

               operator for an initial period of 2 years. . .” Id. “Otherwise, the Zecha/Breene/ Z

               Capital joint venture will operate the spa, or choose a third party operator at its


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               sole discretion, and continue to provide spa services, health and wellness

               offerings, and fitness classes consistent with previous offerings.” Id.

         c)    Spa Memberships: Z Capital agreed that a “Unit Owner Selection Committee …

               will be established to invite, review and extend offers for prospective spa

               members” and that annual Spa membership fees would be targeted at $10,000 and

               not lower than $7,500. Id. at 2.

         d)    Operating Standards: “The Hotel Lot and the exteriors and interiors of the North

               Tower and the South Tower will be operated to a level of service equivalent or

               comparable to the Aqualina in Sunny Isles Beach, the St. Regis in Bal Harbour

               and the Ritz-Carlton in Fort Lauderdale, all in Florida.” Id. at 5.

         e)    Capital Investment in Property: Z Capital agreed that if it could purchase the

               Property “in a manner which provides for a reduction in total consideration paid

               to Lehman Brothers . . . relative to the current . . . agreement,” it would “apply the

               first $3.5 million of the difference in total consideration to a reserve for capital

               improvements to the property.” Id. at 4.

         f)    Parking: “Z Capital will evaluate guest daily and overnight parking rates and

               discounts relative to comparable properties and adjust accordingly.”

               2.     The Term Sheet Negotiated With The North Tower At The Sale Hearing

         60.   On November 24, 2014, the Bankruptcy Court conducted the sale hearing. At that

hearing, the Court repeatedly raised the issue of whether Z Capital had entered into a similar

agreement with Plaintiff. This Court proceeded with the sale hearing, but halted it at various

times during the day to allow Z Capital and Plaintiff to explore entering into a binding term

sheet.



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       61.    Plaintiff and Z Capital negotiated and ultimately executed the North Tower Term

Sheet which expressly adopted the South/Central Term Sheet in its entirety, other than provisions

requiring the dismissal of lawsuits and the release of claims, and contained certain additional

contractual undertakings. The additional terms included the following:

       a)     Valet Charges: “Z Capital shall, to the extent practicable, review actual valet

              parking usage and the current cost allocation for such services within a

              commercially reasonable period of time after Closing, and, as necessary in Z

              Capital’s discretion, adjust such allocation taking into account usage.”

       b)     Limitation on Alteration of Facilities: “Z Capital agrees that it will not, without

              consulting the Associations, remove any facilities from the use of the Unit

              Owners, and will not limit use of any facilities or charge any additional amounts

              for use of any facility unless, within one-year of the Closing, Z Capital reasonably

              determines (and notifies the Associations) that continuation of the status quo is

              unreasonable and impracticable.”

       c)     Destination Restaurant: Z Capital promised to “use its reasonable best efforts to

              provide a destination restaurant on the Property.”

       d)     Binding Nature: Both parties acknowledged that by signing the North Tower

              Contract, each was “bound by the entirety of the foregoing.”

       e)     Conclusion: The Contract concluded by noting: “After having met and reviewed

              the credentials of our esteemed team of operators, we hope you are gaining

              confidence that they will not just preserve but enhance the stature of the property

              to 5-star status. We know as you do, that delivering 5 star service and a luxury




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               experience is not a one size fits all endeavor, and we are willing to personalize our

               service offerings to meet the needs of all our customers.” (Emphasis added).

       62.     Each of the promises and representations contained in the numerous e-mails sent

by Z Capital to the Unit Owners, including with regard to the Talai rebranding, the preservation

of the health and wellness ethos at the Property, as well as the contractual obligations assumed

by Z Capital in the North Tower Term Sheet (which incorporated the terms and conditions of the

South/Central Term Sheet) induced Plaintiff to drop its opposition to the sale of the Property to Z

Capital and support the sale of the Hotel Lot to Z Capital. As set forth below, Z Capital

ultimately failed to deliver on most of its representations and commitments to the NCBCA and

its Unit Owners.     On information and belief, Z Capital never intended to deliver on the

representations and promises contained in the emails or its contractual commitments. In so

doing, Z Capital engaged in fraudulent, unconscionable, unfair and deceptive acts and practices

in inducing NCBCA and its Unit Owners to support its bid and in inducing the NCBCA to enter

into the North Tower Term Sheet and to consent to the Bankruptcy Sale.

       C.      Z Capital Obtains Approval Of The Bankruptcy Sale

       63.     On or about November 26, 2014, the Bankruptcy Court approved the Purchase

and Sale Agreement between the Debtors and Z Capital. In its Sale Order, the Court approved

the Term Sheet entered into by the North Tower and also the Term Sheet entered into by the

Central and South Towers and stated that approval of the term sheets was “part of the Court’s

approval of the sale.”

       64.     On or about December 16, 2014, Z Capital Partners LLC assigned its interest in

the Sale Agreement to Z Capital Florida Resort, LLC.

       65.     On or about January 9, 2015, Z Capital informed Plaintiff and the Unit Owners

that Canyon Ranch was being terminated but that Z Capital remained “deeply committed to
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maintaining the property’s fundamental character and lifestyle that you originally invested in.”

Notwithstanding Z Capital’s obligation under the Term Sheets, it failed to undertake good faith

efforts to negotiate with Canyon Ranch to remain the Spa operator. This breach has resulted in

significant damages to the NCBCA and its Unit Owners. To Z Capital, however, this led to an

immediate savings of Canyon Ranch’s annual $2 million management fee.

       66.    On or about January 14, 2015, Z Capital closed on the Sale of the Debtors’

Assets. Notice of Sale Closing [Docket No. 246].

       67.    Z Capital acquired the Hotel Lot subject to the Master Declaration, the North

Tower Declaration, and applicable Florida law (including the Florida Condominium Act and the

Florida Homeowners’ Association Act).

II.    Z Capital’s Post-Bankruptcy Sale Breaches Of Contract

       68.    Following entry of the Sale Order, Z Capital has repeatedly and knowingly

breached numerous of its obligations under the Term Sheets as listed below:

       a)     The hotel and remainder of the property were never redesigned nor operated by

              the Zecha/Breene JV. Nor is there any indication that a replacement for the

              Zecha/Breene JV was ever sought or even contemplated, or that Z Capital ever

              intended anything other than to embark in its program of drastic cost-savings

              measures. Instead, Z Capital is running the hotel, restaurant and the upkeep of the

              Property by itself, without any relevant high end hospitality experience and

              without the strength of a major hotel chain or specialized boutique hotel chain to

              appropriately market the hotel rooms. Major operations decisions at the Property

              appear to be made either by inexperienced local staff or, in most cases, by

              individuals detached from the operations of the Property at Z Capital in Chicago.



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     b)    After Canyon Ranch’s dismissal by Z Capital, the Zecha/Breene JV neither

           operated the Spa nor did any such joint venture choose a third party operator. Nor

           is there any indication that a suitable spa operator replacement for Canyon Ranch

           or the nonexistent Zecha/Breene JV was ever sought or even contemplated.

           Instead, Z Capital is running the Spa itself. The Spa services, health and wellness

           offerings and fitness classes being provided by Z Capital at the Property are not

           consistent with pre-Bankruptcy Sale offerings as required by the Term Sheets.

     c)    Z Capital failed to operate the exterior and interior of the North Tower to a level

           of service equivalent or comparable to the Acqualina in Sunny Isles Beach, St.

           Regis in Bal Harbour and the Ritz-Carlton in Fort Lauderdale. Indeed, while

           extensive renovations are planned for the restaurant, bar and the lobby, reception

           and other portions of the Central Tower, the interiors and exteriors of the North

           Tower have been completely neglected.         For example, Z Capital improperly

           delayed applying for permits for necessary stucco and water-proofing repair work

           to the North Tower for 16 months. As a result, the North Tower has suffered

           further weather-related damage, including severe water-damage to many units.

           The NCBCA has also repeated requested drastically needed flooring replacements

           in the North Tower lobby. Such replacement, ironically, would be at Plaintiff’s

           sole expense but Z Capital’s response was that such a request was “not high on

           [its] list of priorities.”

     d)    Z Capital has not applied the $3 million reduction in the total consideration it paid

           to the Debtor, after its expenditure on stucco repairs, to a reserve for capital

           improvements to the Property, despite the contractual obligation to do so.



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     e)    Z Capital did not use its reasonable best efforts to provide a destination restaurant

           on the Property.

     f)    Z Capital failed to review actual valet parking usage and the current cost

           allocation for such services within a commercially reasonable period of time after

           Closing and has failed to adjust such allocation taking into account usage.

     g)    Z Capital did not evaluate guest daily and overnight parking rates and discounts

           relative to comparable properties and adjust accordingly.

     h)    Z Capital failed to establish a Unit Owner Selection Committee to invite, review

           and extend offers for prospective Spa members. Instead, Z Capital has failed to

           provide membership applications prior to approving prospective members and has

           mandated that such a committee would not be entitled, in any event, to approve or

           reject prospective members. Z Capital has failed to adhere to the agreed annual

           price target of $10,000, and went below the agreed minimum of $7,500, thus

           adding to Z Capital's overall down-market effect on the property.

     i)    More recently, Z Capital has announced its plans to undertake major renovations

           which will involve taking property that used to be part of the access rights

           included in the Shared Facilities (with shared access rights for Unit Owners) and

           to make such property exclusively part of the private portions of the Hotel Lot, in

           violation of Z Capital’s binding promise “not, without consulting the

           Associations, [to] remove any facilities from the use of the unit owners . . . unless,

           within one-year of the Closing, Z Capital reasonably determines (and notifies the

           Associations) that continuation of the status quo is unreasonable and

           impracticable.” Z Capital never notified, within one year of the Bankruptcy Sale



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               that continuation of the “status quo” was unreasonable or impracticable.

               Therefore, such planned renovations, if undertaken, are breaches of the North

               Tower Term Sheet.

       69.     In changes that have caused the absolute decimation of the health and wellness

offerings at the Property in breach of the North Tower Term Sheet, Z Capital has systematically

eviscerated the management and fitness staff, as well as the related class numbers, and the depth

and breadth of related private instruction and private treatment capabilities. In an effort to cut its

own costs, Z Capital has undermined quality, discipline, career path perspectives, the stimulation

of learning and knowledge sharing and the ability to stay abreast of constantly evolving medical

and physiological discovery and innovation.

       70.     From the world-renowned Canyon Ranch model of an integrated medical,

physiological, fitness and spiritual self-improvement, a “university of life”, Carillon, under Z

Capital, is rapidly plunging to the level of an average sweat shop gym. Under Z Capital’s

control, there is no longer the opportunity for either a Unit Owner or hotel guest getting a

personalized integrated medical, physiological, nutritional and spiritual web of private training,

treatments and monitoring sessions. The entire wellness and training ethos Unit Owners relied

on is systematically being dismantled under Z Capital’s leadership.

       71.     Indeed, a number of the doctors and top tier staff have been terminated under Z

Capital’s leadership in order to save costs. The reductions and departures have focused on full

time staff, the most experienced and senior staff, and the staff providing most private training

and treatments. By so doing, instructor connections to the community of Unit Owners and their

individual physical needs have been systematically eroded. For instance, Dr. Karen Koffler,

head of wellness and fitness and thus the senior thought leader and integrator of the Carillon’s



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intended cross disciplinary practice, is now gone without replacement; Jeff Dolgan, head of

sports physiology, is now gone and not replaced, and Dr. Yoav Suprun, head of physiotherapy,

has been reduced from a regular weekly schedule to an “on call” status. The manager of the

fitness instructors is gone without replacement. With these four removals, the wellness aspect of

the Property has been denuded of its whole managerial and intellectual infrastructure, which

alone ensures high performance, career development, thought leadership, orderly import of new

learning and discoveries into daily wellness practice, and inter-disciplinary collaboration around

individual Unit Owner’s physical and nutritional health problems. Below that senior level, staff

reductions have been dramatic. The number of fitness instructors has shrunk dramatically and 17

of Canyon Ranch’s original instructors are gone.

       72.     Despite Z Capital’s promise that it would keep and even increase the focus on

health and wellness, it has done the exact opposite. For example, the number of weekly classes

has been reduced. Stretch classes, in particular (one of the most important routines for healthy

aging), have been reduced from 23 to 8 per week. The daily schedule has lost the regularity and

the progression from cardio to muscle that allows individual Unit Owners to each build their

optimum personal training plan. Weekly lectures have been reduced with an overall 92%

reduction of serious wellness lectures.

       73.     Z Capital, in filing for the necessary permits for the North Tower stucco and

water-proofing repair work discussed above, reaffirmed its culture of deceit and neglect. While

offering, throughout 2015, almost monthly excuses for the start of the work being delayed, the

City of Miami Beach records show that Z Capital did not even apply for the permit until April

14, 2016. The startup of the work was delayed for over a year and a half, not because of

“unexpected difficulties,” but because Z Capital either had no interest in performing the work,



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and/or delayed the work in an effort to further its overarching drastic cost-cutting strategy for the

Property contrary to its “5-star” operating standard commitment. Z Capital was not concerned

with what this delay caused to the soundness or water-proofing system of the building and to the

health and welfare of those residents whose units incurred water-related damage as a result of the

repair delays. Meanwhile a review of those applications that finally were filed in 2016 reveals

that while Z Capital received a $3 million credit against the sale price for assuming the Debtors’

obligation to perform stucco and water-proofing work, the performance bond was only for about

$1.54 million.     Additionally, the applications reflect that Z Capital reduced the standard

contractor’s warranty from five to three years.

       74.       By these and other acts and omissions, Z Capital materially breached its

contractual obligations. Plaintiff has suffered and continues to suffer substantial damages due to

Z Capital’s breach of contract. These damages include:

       a)        Significantly diminished property values, declining rental values and loss of

                 liquidity for the condominium units in the North Tower;

       b)        While the quality of services has declined substantially and is far below the “5

                 star” standard that was contractually promised, Z Capital continues to impose

                 assessments and fees upon the Unit Owners at levels at or around pre-Bankruptcy

                 Sale levels and substantially above those for other true “5 star” establishments in

                 the area. The gap between the monthly assessments and fees charged and the

                 services actually offered is another measure of damages suffered by Unit Owners.

III.   Z Capital Is Breaching Various Provisions Of The Master Declaration

       A.        Overcharges And Improper Assessments

       75.       Z Capital has imposed numerous periodic and special assessments that violate the

Master Declaration, as well as the Florida Homeowners’ Association Act and the Florida
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Condominium Act. One consistent thread running through the various categories of expenses in

the budgets for the Shared Facilities is that Z Capital does not pay any of the cost of maintaining

them. Rather, the Towers’ unit owners pay 100% of those costs. By shifting all the costs of

maintaining these facilities onto the unit owners, Z Capital avoids the cost of running certain

facilities that support the hotel, Spa, restaurant, and bar, and so maximizes its profits. Such acts

and practices are unconscionable, unfair and deceptive. For example:

       a)      Current assessments fail to accurately account both for the huge reductions in

               expenses resulting from Z Capital’s drastic cost-cutting measures and the revenue

               Z Capital earns from hotel and Spa guests, outside memberships and other

               sources.

       b)      Assessments have included amounts for property that must be considered

               “common elements” of the North Tower condominium under the Florida

               Condominium Act, and therefore may not be part of an assessment for “Shared

               Facilities” unilaterally imposed by Z Capital.

       c)      Assessments have included amounts for expenses related to “common areas” of

               the Master Association under the Florida Homeowners’ Association Act, and

               therefore may not be part of an assessment for “Shared Facilities” unilaterally

               imposed by Z Capital.

       d)      On information and belief, assessments have imposed all or almost all the costs of

               operating and maintaining the Shared Facilities and certain facilities within the

               “Spa” on the Towers’ unit owners while imposing little or none of the costs on Z

               Capital. This allocation and assessment is unfair and unreasonable, arbitrary,




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           capricious and unconscionable in violation of the Florida Homeowners’

           Association Act, the Florida Condominium Act and other applicable Florida laws.

     e)    Charges have included improper, unfair, and excessive assessments and fees

           relating to, among other things, operation and maintenance of Shared Facilities.

           As it relates to the Spa, NCBCA does not dispute the Sale Order’s finding with

           respect to Z Capital’s ability to both levy assessments and collect fixed fees (the

           “Fixed Fees”) relating to the Limited Spa Rights. However, these assessments

           and fees are still subject to scrutiny under the terms of the Master Declaration and

           under Florida law. For instance, on information and belief, each assessment

           relating to the Limited Spa Rights contained no reduction, or an insufficient

           reduction, for the substantial revenue that Z Capital receives by selling external

           memberships and by collecting resort fees and other fees and charges for use of

           the Spa. Z Capital’s refusal to provide any information about how the Fixed Fees

           for Spa usage is derived, and what it pays for and collects, on the grounds that the

           Spa is owned by the Hotel Lot Owner and is not part of the Non-Retail Shared

           Facilities, and its refusal to provide NCBCA with reasonable access to review and

           audit the budgets, expenses, revenues and assessments for the shared facilities

           budgets, allows Z Capital to charge and assess the Unit Owners without any

           verification or accountability whatsoever.

     f)    Assessments were imposed without any meaningful vote or input from the Unit

           Owners.

     g)    Assessments were imposed without any opportunity for audit or inspection of the

           relevant financial books and records by Plaintiff or the Unit Owners.



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       h)     Z Capital has announced its intention to assess Unit Owners for a new and

              expensive renovation project that will convert areas that are currently assessed to

              the Unit Owners under one of Shared Facilities budgets (and made available for

              their use) into the exclusive property of Z Capital. In addition to being a breach

              of the North Tower Term Sheet and a violation of the Homeowners’ Association

              Act and the Master Declaration, assessments related to this renovation will

              unfairly place a large portion of the burden of certain portions of this renovation

              on Unit Owners, including renovations to the hotel lobby and reception, while

              placing a relatively small burden on Z Capital, which will enjoy all of the

              resulting revenues.

       B.     Withholding Books and Records

       76.    Pursuant to the Master Declaration, Z Capital is required to maintain financial

books and records with respect to the Shared Facilities. Such records are then subject to

inspection and audit by any “Member” of the Master Association. The relevant provision of the

Master Declaration reads as follows:

       The Hotel Lot Owner shall maintain financial books and records showing its
       actual receipts and expenditures with respect to the maintenance, operation,
       repair, replacement, alteration and relocation of the General, Non-Retail,
       Condominium North, Condominium Central and Condominium South Shared
       Facilities, including the then current budget and any then proposed budget (the
       “Facilities Records”). The Facilities Records need not be audited or reviewed by
       a Certified Public Accountant. The Facilities Records shall at all times, during
       reasonable business hours, be subject to the inspection and audit of any
       Member of the Association.

Master Declaration § 16.8 (emphasis added). In order to audit the Facilities Records, Members

of the Master Association and their agents and auditors must be able to confirm that the books

and records accurately reflect actual receipts and expenditures. Therefore, Members of the

Master Association and their auditors or other agents must have access to the supporting

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invoices, receipts, and other documents to verify and audit the bare-bones operating budgets

provided by Z Capital.

       77.     Z Capital, with no oversight, determines assessments for the various categories of

Shared Facilities, without any of the normal checks and balances which are afforded to

condominium Unit Owners in other residential communities: the right to elect association

directors with the authority to set assessments for maintenance and other needed expenses, and

the corresponding right to vote the directors out of office. Access to the books and records of the

Shared Facilities, including the supporting invoices and receipts, is crucial so that Plaintiff, Unit

Owners, and their auditors can determine whether the assessments imposed by Z Capital are

accurately and properly calculated and authorized.

       78.     Z Capital is collecting assessments for reserves based on detailed cost projections

but has refused to share with NCBCA (or the Unit Owners it represents) the study, if any, upon

which such projections are based, or any other supporting documents for such expenses.

       79.     Z Capital has denied NCBCA, the Unit Owners it represents, and their agents

required access to the needed books and records and supporting documents (including the

reserve study) that would enable Plaintiff to determine whether assessments and fees Z Capital is

imposing are accurate and otherwise proper. In addition to violating the Master Declaration,

such conduct is unlawfully deceptive, unfair and unconscionable under applicable Florida law.

IV.    Z Capital Is Violating Florida Condominium Laws

       A.      Z Capital’s Failure To Relinquish Control Over Master Association

       80.     Section 720.307(1), Fla. Stat., provides that members of the association “other

than the developer are entitled to elect at least a majority of the members of the board of

directors of the homeowners’ association. . . [t]hree months after 90 percent of the parcels in all

phases of the community that will ultimately be operated by the homeowners’ association have
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been conveyed to members.” Likewise, Section 2 of Article IV of the Articles of Incorporation

of the Master Association provides that developer control of the Master Association will be

turned over to its members “three (3) months after ninety percent (90%) of all Condominium

Units (as to any Lot that has been submitted to the condominium form of ownership) and Lots

(as to those which have not been submitted to the condominium form of ownership) within The

Properties have been sold and conveyed . . .” (collectively, with Section 720.307(1)(a), Fla. Stat.,

the “Turnover Conditions Precedent”).

       81.     However, the Articles of Incorporation of the Master Association, which are an

exhibit to the Master Declaration, purport to enable Z Capital, post-turnover, to continue to elect

a majority of members of the Master Association.          Even though the Turnover Conditions

Precedent have been met, Z Capital, as the successor to the original developer under the Master

Declaration, has violated Sections 720.307(1) and 720.307(3) of the Florida Homeowners’

Association Act by refusing to relinquish the right to elect a majority of the Board of Directors of

the Master Association to the non-developer members.

       82.     By blocking any Master Association process, Z Capital has unlawfully prevented

a non-developer controlled Master Association from “ensur[ing] the orderly development,

operation and maintenance of the Properties . . . ” Specifically and by way of example, Z Capital

has utilized its purported post-turnover developer voting majority to unilaterally amend the

Master Declaration, in clear violation of Section 720.3075(1)(a) of the Florida Homeowners’

Association Act. Additionally, Z Capital has illegally utilized its voting majority, on a post-

turnover basis, to avoid designating and relinquishing control to the Master Association of those

portions of the Community which are deemed to be “common areas” under Section 720.301(2)

of the Florida Homeowners’ Association Act. Finally, Z Capital has failed to hold meetings,



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failed to enact budgets, and has otherwise fully usurped control of, and entirely emasculated,

what should be the critical role of the Master Association in the operation of the Property which,

as stated in section 8.1 of the Master Declaration, is to “ensure the orderly development,

operation and maintenance of The Properties”. Accordingly, Z Capital has illegally blocked the

Master Association from properly functioning to the detriment of the Unit Owners.

       B.      Common Elements And Common Areas Are Improperly Categorized As
               “Shared Facilities”

       83.     Certain facilities within the Property, which are dedicated for the use of all unit

owners, and/or the other members of the Master Association, fall within the meaning of

“common areas” under the Florida Homeowners’ Association Act. These facilities have been

illegally re-characterized as “Shared Facilities” or have not been properly designated and placed

under the control of the Master Association, as “common areas”, as described above. These

facilities include the four pools and other recreational facilities, which are intended solely or

primarily for the use and benefit of the Unit Owners in the Community.

       84.     Certain facilities within the Community, which are dedicated solely for the use of

the Unit Owners in the North Tower, fall within the meaning of “common elements” under the

Florida Condominium Act and have been illegally re-characterized as “Shared Facilities”. These

facilities include the North Tower lobby, valet parking area, interior hallways, unit balconies and

building exterior, which should be under the control of the NCBCA.

       C.      Z Capital’s Implementation Of The Master Declaration Fails The Fair And
               Reasonable Standards Of Florida Law

       85.     Certain provisions of the Master Declaration as written, or as construed and

implemented by Z Capital, do not meet the fair and reasonable, arbitrary and capricious, and/or

unconscionability standards mandated under Section 718.302 of the Florida Condominium Act,

Section 720.309 of the Homeowners’ Association Act, and/or Florida case law.

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       86.    For example, Section 718.302(1) of the Florida Condominium Act requires that:

       Any grant or reservation made by a declaration, lease, or other document, and any
       contract made by an association prior to assumption of control of the association
       by unit owners other than the developer, that provides for operation, maintenance,
       or management of a condominium association or property serving the unit owners
       of a condominium shall be fair and reasonable… (emphasis added).

       87.    The Master Declaration contains grants or reservations that provide for the

operation, maintenance, or management of property serving the Unit Owners which are not fair

and reasonable. These provisions include:

       a)     The provisions of Section 16.8, which Z Capital claims (and Plaintiff contests)

              authorize it to withhold access to all financial books and records, other than

              unverified budgets.

       b)     The provisions of Section 16.3, which Z Capital claims (and Plaintiff contests)

              authorize it to assess to the Towers’ unit owners all or most of certain expenses

              under budgets for the Shared Facilities, without accounting for the enormous fees

              and other revenues derived therefrom by the Hotel Lot Owner.

       c)     The provisions of Section 16.3, which Z Capital claims (and Plaintiff contests)

              authorize it to collect special assessments from the Unit Owners in the North

              Tower for 46% of the costs of capital improvements to the Central Tower (hotel)

              lobby and reception, which primarily inure to the benefit of Z Capital, while

              ignoring much needed renovations to the North Tower lobby.

       d)     The provisions of Section 16.3, which Z Capital claims (and Plaintiff contests)

              authorize it to increase the “Fixed Charge” to Unit Owners by 10% per year.

       e)     The provision in the Articles of Incorporation of the Master Association, which is

              an exhibit to the Master Declaration, purporting to permit the declarant to elect a

              majority of the members of the Master Association, post-turnover.
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        D.       Master Declaration Circumvents Protections Afforded Under Florida Law For
                 Recreational Lease Arrangements

        88.      The Master Declaration governs the Unit Owners access to the Spa, which is

defined to include the health and fitness center, private fitness studio and labs, pilates room, rock

climbing wall, treatment area relaxation lounges, cardio/weight room, men’s and women’s locker

rooms, men’s and women’s lounge/sauna/steam rooms, South Tower beach pool, North Tower

beach pool, North Tower 6th floor pool, and North Tower fitness room.

        89.      The Towers’ unit owners are charged on a monthly basis a Fixed Charge for use

of the Spa facilities, even though they are also assessed for most or all of the Spa expenses. That

Fixed Charge is levied against every Unit Owner every month regardless of whether the Unit

Owner or the other occupants of the Unit use the Spa.

        90.      Z Capital, as the Hotel Lot Owner, can raise that Fixed Fee every year, without

regard to any increase in actual expenses, but cannot increase the charge more than 10 percent in

a single year.

        91.      Z Capital also assesses all Unit Owners for Limited Spa Right (i.e., use of the

Spa), regardless of whether they use the Spa, as part of the budget for the Non-Retail Shared

Facilities.

        92.      The provisions in the Master Declaration governing Unit Owners’ access to the

Spa and the Fixed Fees and assessments that Unit Owners must pay for that access are the

functional equivalent of a recreational lease embedded in the Master Declaration.

        93.      The North Tower Condominium Declaration specifies that accepting a deed for a

unit “shall constitute an adoption and ratification of the provisions of this [North Tower

Condominium] Declaration . . . and the Master Covenants [defined in 2.30 of the North Tower




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Condominium Declaration to include the Master Association] . . .” Thus, Unit Owners are

required to enter into the embedded recreational lease by accepting a deed for a unit.

       94.      Florida law provides condominium Unit Owners with certain rights to protect

them against abusive recreational leases. Fla. Stat. 718.401(f)(1) states:

       A lease of recreational or other commonly used facilities entered into by the
       association or Unit Owners prior to the time when the control of the association is
       turned over to Unit Owners other than the developer shall grant to the lessee an
       option to purchase the leased property, payable in cash, on any anniversary date
       of the beginning of the lease term after the 10th anniversary, at a price then
       determined by agreement. If there is no agreement as to the price, then the price
       shall be determined by arbitration conducted pursuant to chapter 44 or chapter
       682. This paragraph shall be applied to contracts entered into on, before, or after
       January 1, 1977, regardless of the duration of the lease. . .

       95.      The declarant incorporated the provisions of a recreational lease in the Master

Declaration thereby seeking to circumvent the protections the Florida Condominium Act affords

Unit Owners against abusive recreational leases.

                                            COUNTS

                                           COUNT I
                                  (FRAUDULENT INDUCEMENT)
                                      (Against Z Capital)

       96.      Plaintiff incorporates and adopts paragraphs 1 through 95 above as if fully set

forth herein.

       97.      Prior to the execution of the North Tower Term Sheet, Z Capital implemented a

fraudulent scheme, through false and misleading emails to the Unit Owners and other means, to

induce the Plaintiff, including the Unit Owners it represents, to support Z Capital’s bid to

purchase the Hotel Lot. These and other related representations regarding, among other matters,

the Zecha/Breene JV and the creation of a “true 5-star Adrian Zecha branded property,” the

effort to retain Canyon Ranch, and the high standards at which the Property would be operated,

were false.

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       98.      Z Capital made these and other false and misleading misrepresentations and

omissions knowingly or with reckless and utter disregard for their truth or falsity, and with the

intent to induce Plaintiff (including the Unit Owners it represents) to rely upon them.

       99.      Plaintiff justifiably relied upon the false representations made by Z Capital in

dropping its support for the “6801” group, withdrawing its objections to Z Capital’s purchase of

the Hotel Lot, entering into the Term Sheet, withdrawing its objection to Z Capital’s acquisition

of the Hotel Lot and supporting Z Capital’s purchase of the Hotel Lot.

       100.     As a direct and proximate result of its reliance upon the false representations and

omissions of Z Capital, Plaintiff (including the Unit Owners it represents) was induced not to

oppose the sale of the Hotel Lot to Z Capital but rather to support the sale. In so doing, Plaintiff

(including the Unit Owners it represents) has been damaged as a result by Z Capital’s failure to

fulfill its representations and promises and the resulting steep drop in their property values.

       101.     Because of the outrageous nature of Z Capital’s willful and wanton conduct,

Plaintiff will seek leave to seek punitive damages under applicable law.

                                          COUNT II
                               (NEGLIGENT MISREPRESENTATION)
                                     (Against Z Capital)

       102.     Plaintiff incorporates and adopts paragraphs 1 through 101 above as if fully set

forth herein.

       103.     Z Capital represented to the NCBCA and its Unit Owners that it and its partners

had unique or special expertise relating to the management of similar properties and the ability to

create a new 5-star brand for the Property.

       104.     Z Capital represented to Plaintiff that Z Capital and its partners purported to have

unique or special expertise that would make them uniquely situated to purchase the Hotel Lot,

and also represented that the Unit Owners would see an increase in the average sale price per
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square foot for the units located in the North Tower. Instead, when compared to similar units at

other properties, property values at the Carillon have not kept pace.

       105.    Z Capital built a special or unique relationship with Plaintiff based upon Z

Capital’s purported expertise, which created a duty on the part of Z Capital to provide Plaintiff

with full and correct information.

       106.    Z Capital failed to disclose material information, which rendered their other

representations false and misleading.

       107.    Z Capital made the false representations and material omissions knowing or

recklessly disregarding that Plaintiff would use and rely upon the representations and omissions

for the particular purpose of determining whether to withdraw its objections to Z Capital's

acquisition of the Hotel Lot and instead to support Z Capital’s purchase of the Hotel Lot.

       108.    Plaintiff justifiably relied upon the representations regarding, among other

matters, the Zecha/Breene JV, the effort to retain Canyon Ranch, the plans for rebranding of the

Property, and the high standards on which the Property would be operated, and also justifiably

relied upon the material omissions made by Z Capital, which were made in furtherance of

inducing Plaintiff’s reliance.

       109.    As a result of Plaintiff’s reliance on Z Capital’s misrepresentations and material

omissions, Plaintiff has suffered compensatory damages.

       110.    Because of the outrageous nature of Z Capital’s willful and wanton misconduct,

Plaintiff will seek leave to seek punitive damages.




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                                       COUNT III
                  (FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT,
                              SECTION 501.201, FLA. STAT.)
                                   (Against Z Capital)

       111.     Plaintiff incorporates and adopts paragraphs 1 through 110 above as if fully set

forth herein.

       112.     Florida’s Deceptive and Unfair Trade Practices Act provides that unconscionable

acts or practices and unfair or deceptive acts or practices in the conduct of any trade or

commerce are unlawful. Fla. Stat. § 501.204(1).

       113.     In relation to the Property, both prior to and following the Bankruptcy Sale, Z

Capital has engaged and continues to engage in unconscionable, unfair and deceptive acts and

practices in the conduct of trade or commerce.

       114.     Those unconscionable, unfair and deceptive acts and practices include:

       a)       Making deceptive representations, in multiple e-mails to the Unit Owners and

                other documents, regarding how Z Capital would operate the Property in order to

                induce Plaintiff to drop its opposition to Z Capital’s purchase of the Hotel Lot and

                rather support Z Capital’s purchase of the Hotel Lot.

       b)       Making deceptive representations to induce Plaintiff to enter into the North Tower

                Term Sheet.

       c)       Unfairly maintaining total control over the monthly rates and occasional special

                assessments levied against Unit Owners and the fees that they are charged while

                steadfastly refusing to allow any inspection or auditing whatsoever of the

                financial books and records pertaining to these assessments.

       d)       Charging Unit Owners the same assessments and fees (or higher ones) despite

                drastic cutbacks in expenses, including offering services that do not meet those


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               earlier provided to Plaintiff and the Unit Owners, and failing to account to the

               Unit Owners for all or a substantial portion of the cost savings.

       e)      Continuing to charge Plaintiff and the Unit Owners for the provision of “5 star”

               services, although Z Capital has failed to provide “5 star” services in the Property,

               including the residences, hotel, restaurant and Spa.

       f)      Imposing assessments which have been improperly calculated, allocated or

               otherwise determined, and including expenses for which it does not have the right

               to assess the Unit Owners within the meaning of applicable provisions of the

               Master Declaration.

       g)      Causing Unit Owners to be overcharged in assessments for certain rights and

               services while concealing the full extent of those charges.

       115.    Post-Bankruptcy Sale, Z Capital has degraded the Property’s image and depressed

property values by its hotel and restaurant marketing policy. Having reneged on their promise to

bring the aura of Adrian Zecha and Jonathan Breene to the hotel, having reneged on the promise

to turn the restaurant into a “destination restaurant”, Z Capital has descended to promoting its

hotel rooms on “Travel Zoo,” a deep discount internet travel site, and to offering discounted day

passes to the Spa and restaurant. It also heavily promotes the bar, parties, and events. From a

high-end health and fitness focus, under a strong globally admired brand, and with a strong sense

of community among likeminded residents and hotel guests, Z Capital – whether for lack of

ability or by design, but in flagrant violation of its promises and its contractual obligations – is

morphing the Property into just one of many ordinary, mid-level bar and beach resorts in Miami,

with devastating short and long term effects on Unit Owners’ property values and lifestyle.




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       116.     Z Capital is actually profiting from the destruction of quality, reputation and

property prices by purchasing a large number of condo-hotel units in the Central Tower at

depressed prices. Z Capital, since its arrival in January 2015, has purchased approximately sixty

units at the Property (or almost three units per month). These units would have been much more

expensive to acquire had Z Capital lived up to the high standards that it represented and

promised to deliver.

       117.     As a result of these deceptive, unfair, and unconscionable practices, Plaintiff and

the Unit Owners it represents have suffered substantial actual damages, including:

       a)       Reduced property values; and

       b)       Payment of overcharges and other improper charges related to the assessments

                under the budgets for the Shared Facilities.

                                        COUNT IV
                           (BREACH OF NORTH TOWER TERM SHEET)
                                    (Against Z Capital)

       118.     Plaintiff incorporates and adopts paragraphs 1 through 117 above as if fully set

forth herein.

       119.     The North Tower Term Sheet is a binding and enforceable contract.

       120.     The North Tower Term Sheet incorporated the South/Central Term Sheet which

was also a binding and enforceable contract.

       121.     Z Capital breached the entirety of the North Tower Term Sheet and the South

Central Tower Term Sheet. Z Capital’s breaches are substantial and material, and have caused

Plaintiff and the Unit Owners it represents substantial damage.




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                                         COUNT V
                (BREACH OF IMPLIED COVENANT OF GOOD FAITH & FAIR DEALING -
                                 NORTH TOWER TERM SHEET)
                                     (Against Z Capital)

       122.      Plaintiff incorporates and adopts paragraphs 1 through 121 above as if fully set

forth herein.

       123.      The North Tower Term Sheet contains an implied covenant of good faith and fair

dealing.

       124.      Z Capital’s actions, including its failure to engage an entity to manage the

Property of equivalent caliber to the purported Zecha/Breene JV once it became clear that such a

joint venture was not going to manage the Property, constitute a breach of the implied covenant

of good faith and fair dealing, and deprived the Plaintiff of the right to receive the benefits of the

North Tower Term Sheet. Z Capital’s breaches of the implied covenants are substantial and

material, and have caused Plaintiff and the Unit Owners it represents substantial damage.

                                            COUNT VI
                                      (UNJUST ENRICHMENT)
                                        (Against Z Capital)

       125.      Plaintiff incorporates and adopts paragraphs 1 through 124 above as if fully set

forth herein.

       126.      Z Capital unfairly and illegally maintains total control over the assessments levied

against Unit Owners and the fees that they are charged while steadfastly refusing to allow any

inspection or auditing whatsoever of the financial books and records pertaining to these

assessments.

       127.      Z Capital has charged Unit Owners the same assessments and fees (or higher

ones) despite drastic cutbacks in expenses, including offering services that do not meet those




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earlier provided to Plaintiff and the Unit Owners, and has failed to accurately account to the Unit

Owners for all or a substantial portion of the cost savings.

         128.   Z Capital has continued to charge Plaintiff and the Unit Owners for the provision

of “5 star” services, although Z Capital has failed to provide “5 star” services in the Property,

including the residences, hotel, restaurant and Spa.

         129.   Z Capital has caused the Unit Owners to be overcharged or otherwise improperly

charged for assessments while concealing the full extent of those charges and not offsetting

revenues collected from third parties for access to Shared Facilities and the Spa.

         130.   Z Capital has improperly retained for itself the full benefit of the $3 million credit

it received for repairing the North Tower stucco and has delayed the repairs to such an extent

that substantial additional damage to the North Tower has resulted.

         131.   Plaintiff has conferred the benefits enumerated above on Z Capital which has

knowledge of those benefits and has accepted and retained the benefits.

         132.   Under these circumstances, justice and equity require restitution by Z Capital to

the Plaintiff of the benefit accruing to Z Capital from these charges and unjust retentions of

funds.

                                     COUNT VII
         (NEGLIGENCE FOR FAILURE TO MAKE TIMELY AND PROMPT STUCCO REPAIRS)
                                  (Against Z Capital)

         133.   Plaintiff incorporates and adopts paragraphs 1 through 132 above as if fully set

forth herein.

         134.   Before the Hotel Lot was sold, the Debtor had obtained sounding tests for the

North Tower, and both the Debtor and Z Capital had acknowledged and documented the damage

and the need for extensive stucco and water-proofing repairs at the North Tower. The Debtors

had plans in place to perform the stucco and water-proofing repairs.
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       135.    Z Capital was able to structure the sale to receive a $3 million credit against the

purchase price for the Hotel Lot in exchange for assuming the Debtors’ responsibility for

performing the urgently needed stucco and water-proofing repairs on the North Tower.

       136.    Z Capital, in order to enable itself to shop for cheaper alternatives, did not pursue

the Debtors’ stucco repair plans when it purchased the Hotel Lot.

       137.    Although the stucco and water-proofing repairs were urgently needed because

water continued to infiltrate the building through cracks and other defects in the stucco and

water-proofing, resulting in additional structural damage, including direct damage to some units,

Z Capital delayed commencement of the work well beyond a reasonable period of time.

       138.    Z Capital did not even bother to apply for a permit for the stucco and water-

proofing repairs until April 2016. During this protracted, neglectful and continuing delay, 10 of

the 207 units in the North Tower have suffered significant, penetrating moisture damage due to Z

Capital’s failure to timely, adequately, and reasonably commence and pursue the stucco and

water-proofing repairs. When Z Capital finally commenced the work in June 2016, over 18

months after it closed on the sale, it did so in such an unreasonably dilatory and neglectful

manner that the work is taking significantly longer to complete than it should have and, based on

information and belief, is being improperly performed.

       139.    Z Capital has repeatedly refused to provide Plaintiff with any engineering,

sounding or other studies, if any, contracts, permits, insurance certificates, warranties or other

documents it has obtained, relating to this work.

       140.    Based on information and belief, as part of its continuing drastic and unreasonable

cost-cutting measures and neglect, Z Capital is proceeding with the repairs without obtaining

updated sounding or other tests, even though the prior sounding tests were performed well over



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18 months prior to commencement. When Z Capital finally commenced the work, it obtained a

performance bond for only $1.54 million, and it reduced the standard contractor’s warranty from

five to three years.

        141.    Both the sale and rental value of all the units in the North Tower have been

negatively impacted by the delayed and otherwise negligently performed stucco and water-

proofing repairs, and the additional and on-going water penetration. The magnitude of this

impact continues to mount as the repairs continue to be performed at a dilatory pace.

        142.    As a direct, proximate, and foreseeable result of Z Capital’s negligence in

performing the stucco and water-proofing repairs at the North Tower, including, without

limitation, its protracted delays in commencing and performing the work, and its extreme cost-

cutting measures, the NCBCA (and the Unit Owners it represents) have suffered and continue to

suffer substantial damages.

                                         COUNT VIII
                         (BREACH OF COVENANTS—MASTER DECLARATION)
                                      (Against Z Capital)

        143.    Plaintiff incorporates and adopts paragraphs 1 through 142 above as if fully set

forth herein.

        144.    Z Capital is a member of the Master Association and is bound by the Master

Declaration, which imposes obligations on Z Capital.

        145.    Plaintiff is a member of the Master Association and Unit Owners are “Owners”

under the Master Declaration. Thus, they may bring an action to redress failures to comply with

the Master Declaration, under principles of contract law and under Fla. Stat. 720.305(1)(b).

        146.    Z Capital has failed to comply with various portions of the Master Declaration.

        147.    As a result of these breaches, Plaintiff and Unit Owners have suffered and will

continue to suffer damages.
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                                         COUNT IX
                (BREACH OF IMPLIED COVENANT OF GOOD FAITH & FAIR DEALING -
                                   MASTER DECLARATION)
                                     (Against Z Capital)

       148.      Plaintiff incorporates and adopts paragraphs 1 through 147 above as if fully set

forth herein.

       149.      Under the Master Declaration, Z Capital is required to perform certain

obligations. The Master Declaration contains an implied covenant of good faith and fair dealing

related to those obligations.

       150.      Z Capital has breached the implied covenant of good faith and fair dealing

including by its refusal to permit Plaintiff and its agents to inspect, copy and audit the Facilities

Records and underlying supporting documentation and by virtue of certain of its other acts and

failures set forth in this Complaint.

                                         COUNT X
          (DECLARATORY JUDGMENT AS TO COMMON ELEMENTS BELONGING TO
                                   THE NORTH TOWER)
     (Against Z Capital, Master Association, South Condominium Association, Central
                Condominium Association, and North Beach Development)

       151.      Plaintiff incorporates and adopts paragraphs 1 through 150 above as if fully set

forth herein.

       152.      Section 718.103(2), Fla. Stat., defines “Association” as “any entity responsible for

the operation of the common elements owned in undivided shares by unit owners. . .”

       153.      Section 718.103(13), Fla. Stat., defines “Condominium Property” as “lands,

leaseholds, and personal property that are subjected to condominium ownership, whether or not

contiguous, and all improvements thereon and all easements and rights appurtenant thereto

intended for use in connection with the condominium.” (Emphasis added).

       154.      Section 718.108(1), Fla. Stat. states that common elements include:


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       a)      The Condominium Property which is not included within the units.

       b)      Easements through units for conduits, ducts, plumbing, wiring, and other facilities

               for the furnishing of utility services to the units and the common elements.

       c)      An easement of support in every portion of a unit which contributes to the support

               of a building.

       d)      The property and installations required for the furnishing of utilities and

               other services to more than one unit or to the common elements.

(Emphasis added).

       155.    Under Section 718.108(1)(d), Fla. Stat., the property required to serve more than

one unit – especially the property required to serve all the units and paid for by all the units – is a

common element, and as such must be under control of the Association. In addition, the

“Condominium Property” under Section 718.103 (13), Fla. Stat., includes easements and rights

intended for use in connection with the condominium.

       156.    Section 718.111(1)(a), Fla. Stat., provides that the operation of the condominium

shall be by the association.

       157.    Section 718.111(3), Fla. Stat., provides that the powers of the association include,

but are not limited to, the maintenance, management and operation of the condominium property,

which includes easements and rights intended for use in connection with the condominium.

       158.    The Condominium Act requires that the condominium association establish

certain budgets and reserve accounts for capital improvements and deferred maintenance. It

provides that “[t]hese accounts must include, but are not limited to, roof replacement, building

painting, and pavement resurfacing . . .” Section 718.112(2)(f)(2.a), Fla. Stat.




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       159.    Section 718.113(1), Fla. Stat., provides that the maintenance of the common

elements is the responsibility of the association.

       160.    Section 718.111(3), Fla. Stat., provides that the association may institute,

maintain, settle, or appeal actions or hearings in its name on behalf of all Unit Owners

concerning matters of common interest to most or all Unit Owners, including, but not limited to,

the common elements; the roof and structural components of a building or other improvements.

       161.    Section 718.111(4), Fla. Stat., provides that the association has the power to make

and collect assessments and to lease, maintain, repair and replace the common elements or the

association property.

       162.    Section 718.301(4)(p), Fla. Stat., includes a list of items that are customarily

considered “common elements,” which include:

               1. Roof.
               2. Structure.
               3. Fireproofing and fire protection systems.
               4. Elevators.
               5. Heating and cooling systems.
               6. Plumbing.
               7. Electrical systems.
               8. Swimming pool or spa and equipment.
               9. Seawalls.
               10. Pavement and parking areas.
               11. Drainage systems.
               12. Painting.
               13. Irrigation systems.

       163.    Section 718.302(3), Fla. Stat., provides that a condominium association’s power

under Chapter 718 cannot be eroded by a declaration:

       “Any grant or reservation made by a declaration, lease, or other document, and
       any contract made by an association, whether before or after assumption of
       control of the association by unit owners other than the developer, that provides
       for operation, maintenance, or management of a condominium association or
       property serving the unit owners of a condominium shall not be in conflict with
       the powers and duties of the association or the rights of the unit owners as

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       provided in this chapter. This subsection is intended only as a clarification of
       existing law.”

(Emphasis added).

       164.    Section 718.303(2), Fla. Stat., provides that a “provision of this chapter may not

be waived if the waiver would adversely affect the rights of a unit owner or the purpose of the

provision, except that Unit Owners or members of a board of administration may waive notice of

specific meetings in writing if provided by the bylaws.” (Emphasis added).

       165.    The North Tower Condominium Declaration and the Master Declaration contain

various provisions which violate the above listed rights of the Unit Owners to control through

their elected board their common elements – those elements which primarily or exclusively serve

or should serve the North Tower, structural components, elevators, heating and cooling systems,

plumbing, lobby and reception areas, interior hallways, garage and valet, utility, ventilation, trash

facilities, and pavement and parking areas.

       166.    Currently, Z Capital in its role as Hotel Lot owner, is improperly, and in violation

of Florida law, exercising unrestricted and unregulated authority over those common elements of

the North Tower, including the right to set the assessments levied against the Unit Owners for

the maintenance of these common elements.

       167.    As a direct and proximate result of Z Capital’s control over what should be

common elements, there is a bona fide, actual, present dispute and thus a practical need for a

declaration of the parties’ respective rights, status and other equitable or legal relations under

Chapter 718 of the Florida Statutes regarding the North Tower Condominium Declaration and

the Master Declaration.




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                                        COUNT XI
      (DECLARATORY JUDGMENT AS TO COMMON AREAS BELONGING TO THE MASTER
                                      ASSOCIATION)
     (Against Z Capital, Master Association, South Condominium Association, Central
                Condominium Association, and North Beach Development)

       168.     Plaintiff incorporates and adopts paragraphs 1 through 167 above as if fully set

forth herein.

       169.     Section 720.301(2), Fla. Stat., defines a “Community” as “real property that is or

will be subject to a declaration of covenants which is recorded in the county where the property

is located.”

       170.     Section 720.301(2), Fla. Stat., defines “Common area[s]” as “all real property

within a community which is owned or leased by an association or dedicated for use or

maintenance by the association or its members [.]”

       171.     Section 720.303(1), Fla. Stat., provides that:

       [a]fter control of the association is obtained by members other than the developer,
       the association may institute, maintain, settle, or appeal actions or hearings in its
       name on behalf of all members concerning matters of common interest to the
       members, including, but not limited to, the common areas; roof or structural
       components of a building, or other improvements for which the association is
       responsible; mechanical, electrical, or plumbing elements serving an improvement
       or building for which the association is responsible; representations of the
       developer pertaining to any existing or proposed commonly used facility; and
       protesting ad valorem taxes on commonly used facilities.

       172.     Article III of the Articles of Incorporation of the Master Association states that

one of the “objects and purposes” of the Master Association is “to maintain the Common

Properties thereof for the benefit of the Members of the Association.” The Master Declaration

provides, in Section 8.1 thereto, that the Master Association was established “to ensure the

orderly development, operation and maintenance of The Properties.” Despite this provision, the

Master Association has been stripped of all of its functions, power, authority, and

responsibilities, including as a result of the failure of Z Florida to designate any common areas

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whatsoever, and to re-characterize what should be “common areas” under Chapter 720 of the

Florida Statutes as “Shared Facilities” or as portions of the “Spa”, which are purportedly subject

to Z Capital’s unregulated and unrestricted discretion.

       173.    Those common areas of the Master Association are listed inappropriately as part

of the Shared Facilities, or the “Spa” facilities, of the Hotel Lot, and include, for example, the

North Tower ground floor “Sunrise” pool, the North Tower 6th floor “Sunset” pool, the North

Tower exercise rooms, and other common facilities dedicated or intended for the use of the

members of the Master Association.

       174.    As a direct and proximate result of repackaging all of what should be common

areas into “Shared Facilities” or “Spa” facilities, and giving control over those facilities to Z

Capital, and otherwise depriving the Master Association of any role whatsoever in controlling its

customary common areas, there is a bona fide, actual, present dispute and thus a practical need

for a declaration of the parties’ respective rights, status and other equitable or legal rights

regarding what should be the Master Association’s common areas under Chapter 720 of the

Florida Statutes.

       175.    Additionally, Plaintiff seeks incidental or supplemental relief. In each assessment

and budget, Z Capital has included charges in the Shared Facilities budgets for items related to

property that should be part of the Master Association’s common areas, and thus assessed only

by the Master Association, through a Board of Directors, the majority of whom are elected by its

non-developer members. As a result, Unit Owners have been damaged by being improperly

charged by Z Capital for assessments that, under the Florida Homeowners’ Association Act, may

only be imposed by a homeowners’ association in which Plaintiff is represented.




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                                    COUNT XII
                (DECLARATORY JUDGMENT REGARDING RECREATIONAL LEASE)
                                 (Against Z Capital)

       176.     Plaintiff incorporates and adopts paragraphs 1 through 175 above as if fully set

forth herein.

       177.     Because the Master Declaration controls the Unit Owners’ rights to use the Spa,

which is defined to include the recreational facilities at the Property, and specifies the charges

they must pay for that right, the Master Declaration functionally contains an embedded

recreational lease, which Unit Owners are required to enter into by accepting a deed for a unit.

       178.     The declarant could have required the Unit Owners to sign a separate recreational

lease, governing the rights to use the recreational facilities at the Property and the charges for

that right, but choose instead to incorporate the provisions of such a lease in the Master

Declaration.

       179.     The declarant, and Z Capital as its successor, should not be allowed to eviscerate

the protections afforded Unit Owners under Fla. Stat. 718.401(f)(1) by the simple expedient of

embedding a recreational lease in the Master Declaration, as opposed to having it in a separate,

stand-alone document.

       180.     There is a bona fide, actual, present dispute and thus a practical need for a

declaration of the parties’ respective rights, status and other equitable or legal rights regarding

whether Fla. Stat. 718.401(f)(1) applies to the embedded recreational lease in the Master

Declaration.

                                       COUNT XIII
                 (UNFAIRNESS AND UNREASONABLENESS UNDER CHAPTER 718)
                        (Against Z Capital and Master Association)

       181.     Plaintiff incorporates and adopts paragraphs 1 through 180 above as if fully set

forth herein.

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       182.     Certain provisions of the Master Declaration as written, or as construed and

implemented by Z Capital, do not meet the fair and reasonable, arbitrary and capricious, and/or

unconscionability standards mandated under Section 718.302 of the Florida Condominium Act.

       183.     Plaintiff is required to pay an unfair and unreasonable portion of the expenses for

maintenance, improvement, operation, repair, replacement and renovation for certain facilities

that primarily benefit the hotel, Spa and retail facilities while, on information and belief, Z

Capital pays little or none of these expenses.

       184.     As a direct and proximate result of the above described arrangement, there is a

bona fide, actual, present dispute and thus a practical need for a declaration of the parties’

respective rights, status and other equitable or legal relations relative to Plaintiff’s rights under

Chapter 718 of the Florida Statutes.

       185.     Additionally, Plaintiff seeks the return of those assessments, fees, and other

charges that have been collected by Z Florida in violation of section 718.302, Fla. Stat. and other

applicable laws.

                                        COUNT XIV
                (UNFAIRNESS AND UNREASONABLENESS UNDER CHAPTER 720)
           (Against Z Capital, Master Association, and North Beach Development)

       186.     Plaintiff incorporates and adopts paragraphs 1 through 185 above as if fully set

forth herein.

       187.     Z Capital is operating the Property, and utilizing the Master Declaration, in an

unfair and unreasonable manner, in violation of Section 720.309(1), Fla. Stat., including (without

limitation) by entirely excluding Plaintiff and Unit Owners, and the other non-developer

members of the Master Association, from having the sort of post-turnover input, oversight, and

control over areas that are contemplated under Chapter 720 of the Florida Statutes to be common

areas. Z Capital is arbitrarily and capriciously, and unfairly and unreasonably, running the
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facilities at the Property in a manner calculated to be most profitable for itself, regardless of the

interests of Plaintiff and the Unit Owners and purports to exercise unrestricted authority to

renovate some aspects of the Property, neglects others, and charges unfair, unreasonable and

otherwise improper assessments, while denying and preventing Plaintiff and the Unit Owners

from performing any review, inspection, or audit of the books and records underlying these

assessments.

       188.     As a direct and proximate result of the above-described arrangement, there is a

bona fide, actual, present dispute and thus a practical need for a declaration of the parties’

respective rights, status and other equitable or legal relations relative to Plaintiff’s rights under

Chapter 720 of the Florida Statutes regarding the Master Declaration.

       189.     Additionally, Plaintiff seeks incidental or supplemental relief. Plaintiff seeks the

return of those assessments, fees, and other charges that Z Capital has imposed since acquiring

the Hotel Lot that violate section 720.309(1), Fla. Stat.

                                   COUNT XV
   (DECLARATORY JUDGMENT AS TO MAJORITY MEMBERS OF THE BOARD OF DIRECTORS
            AND MEMBER VOTING RIGHTS ON THE MASTER ASSOCIATION)
                    (Against Z Capital and Master Association)

       190.     Plaintiff incorporates and adopts paragraphs 1 through 189 above as if fully set

forth herein.

       191.     Although the turnover conditions in the Florida Homeowners’ Association Act

and the Master Declaration have occurred and although it has become the successor to the

developer under the Master Declaration, Z Florida has not turned control of the board of

directors over to the non-developer members of the Master Association, and/or is exercising

post-turnover super-majority voting rights in violation of Florida law. The relevant provision of

the Articles of Incorporation of the Master Association, which is attached as an exhibit to Master


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Declaration and which purport to allow the declarant to continue to elect a majority of its board

of directors, post-turnover, should be invalidated and stricken as in violation of Fla. Stat.

720.307(1), Fla. Stat. 720.307(3), and Fla. Stat. 720.3075.

       192.    Z Capital has also failed to comply with the requirements of Section 720.307(4),

Fla. Stat., by failing to deliver to the board of directors of the Master Association all deeds to

common areas required to be controlled by the association, the books and records of the

association and all contracts in effect to which the association is a party, among other documents.

       193.    On March 8, 2016, while improperly in control of the board of directors of the

Master Association, and/or while improperly exercising its super-majority voting rights, Z

Capital purported to unilaterally amend the Master Declaration (the “March 2016 Amendment”)

in violation of Section 720.3075(1)(a), Fla. Stat. The March 2016 Amendment was undertaken

in order to facilitate Z Capital’s sale of the Retail Lot to North Beach Development, LLC. Such

amendment to the Master Declaration created yet another “Shared Facility” category and

improperly shifted some of the existing property between the existing categories.

       194.    As a direct and proximate result of Z Capital’s conduct, including its failure to

constitute the Master Association, its implicit exercise of control over the Master Association

and its unilateral amending of the Master Declaration after the time when control of the board of

directors of the Master Association should have been turned over to the non-developer members,

there is a bona fide, actual, present dispute and thus a practical need for a declaration of the

parties’ respective rights, status and other equitable or legal relations regarding the North Tower

Condominium Declaration and the Master Declaration.




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                                             COUNT XVI
                (INJUNCTIVE RELIEF AND DECLARATORY JUDGMENT AS TO PLANNED
                              RENOVATIONS AND IMPROVEMENTS)
                          (Against Z Capital And Master Association)

        195.     Plaintiff incorporates and adopts paragraphs 1 through 194 above as if fully set

forth herein.

        196.     Z Capital has announced its plans to make material and unilateral alterations to

the nature of the Property. For instance, in September 2016, Z Capital filed a zoning appeal with

the Board of Adjustment of the City of Miami Beach to keep the outdoor hotel bar operational

past 8:00 p.m. and to convert certain commonly-used areas (e.g., shared facilities) into exclusive

portions of the Hotel Lot to facilitate a huge expansion of the bar and other private facilities.

These modifications were announced in complete disregard of the sentiment of the Unit Owners.

These planned renovations will expand Z Capital’s property, especially the bar, restaurant, and

other spaces used to host indoor and outdoor parties, primarily for the benefit of Z Capital in

renting its facilities for weddings or other parties.

        197.     These planned, unilateral alterations to the nature of the Property are contrary to

the representations and promises made by Z Capital in its e-mails to the Unit Owners prior to

consummation of the Bankruptcy Sale.

        198.     These planned, unilateral alterations of the Property are also unreasonable,

arbitrary and capricious, in bad faith and destroy the general plan of development in violation of

Section 720.3075, Fla. Stat.

        199.     These planned, unilateral alterations of the Property violate the contractually

binding commitment in Section 10 of the North Tower Term Sheet.

        200.     Z Capital has already improperly assessed the Unit Owners for a significant

portion of the cost of these renovations. These assessments will improperly, unfairly and


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unconscionably apportion all or a large portion of the costs of improvements to the hotel lobby

and reception and certain other areas to Plaintiff with the primary or exclusive benefits accruing

to Z Capital’s exclusive property. Moreover, because Plaintiff is being denied access to the

financial books and records (and supporting documents), Plaintiff has no reliable way to

determine whether all or some of these assessments are being properly allocated and assessed to

the Unit Owners.

       201.    The planned renovations will result in irreparable harm to Plaintiff, in part

because Plaintiff will face unlawful, unfair, unreasonable, unverifiable, and unconscionable

assessments in violation of (a) Z Capital’s promises and representations to NCBCA and the Unit

Owners it represents, (b) Section 720.3075 of the Homeowners’ Association Act, (c) section 10

of the North Tower Term Sheet, and (d) the Master Declaration.

       202.    There is no adequate remedy at law for the planned interference with Plaintiff’s

property rights. If a preliminary injunction is not issued to prevent the planned renovations and

assessments, the Property will likely be altered and assessments issued before a final judgment in

this case can issue.

       203.    There is a substantial likelihood that Plaintiff will succeed on each and every one

of its claims in this action, and that the planned renovations and assessments are unlawful.

       204.    Entering a preliminary injunction will serve the public interest, not only because it

will preserve the status quo during the pendency of litigation, but also because Z Capital’s

planned renovations and assessments are contrary to the public policy of Florida as expressed in

the Homeowners’ Association Act.




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       205.    Z Capital will suffer only negligible financial harm as a result of preserving the

status quo. Z Capital faces no imminent need to renovate the property, nor a risk of immediate

financial harm from failing to renovate the property before a final judgment in this case.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff prays for relief as follows:

      (i)      On the First Count, Plaintiff seeks to recover all appropriate damages and retain

all of its other rights and remedies, and the rights and remedies of the Unit Owners, arising from

Z Capital’s fraudulent inducement.

      (ii)     On the Second Count, Plaintiff seeks to recover all appropriate damages and

retain all of its other rights and remedies, and the rights and remedies of the Unit Owners, arising

from Z Capital’s negligent misrepresentations.

     (iii)     On the Third Count, Plaintiff seeks a judgment awarding monetary damages to

compensate for Z Capital’s unconscionable, deceptive and unfair practices in violation of the

Florida Deceptive and Unfair Trade Practices Act, including the losses, overcharges, and other

improper charges described above, and awarding attorneys’ fees and costs and such other relief

available at law or in equity.

      (iv)     On the Fourth Count, Plaintiff seeks all appropriate damages and remedies,

resulting from Z Capital’s breaches of the North Tower Term Sheet.

      (v)      On the Fifth Count, Plaintiff seeks a Court order requiring specific performance

of the North Tower Contract and/or all appropriate damages and remedies, related to Z Capital’s

breach of the implied covenant of good faith and fair dealing.

      (vi)     On the Sixth Count, Plaintiff seeks an accounting, disgorgement and restitution of

all profits and benefits received by Z Capital as a result of its unjust enrichment at the expense of

Plaintiff and the Unit Owners.

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     (vii)       On the Seventh Count, Plaintiff seeks all appropriate damages and remedies

resulting from Z Capital’s negligence for failure to make timely and prompt stucco and water-

proofing repairs to the North Tower.

     (viii)      On the Eighth Count, Plaintiff seeks compensatory and expectation damages

resulting from Z Capital’s breaches of the covenants of the Master Declaration, and an order

directing specific performance of Z Capital’s obligations under the Master Declaration.

      (ix)       On the Ninth Count, Plaintiff seeks a Court order requiring specific performance

of the Master Declaration and/or all appropriate damages and remedies, related to Z Capital’s

breach of the implied covenant of good faith and fair dealing.

      (x)        On the Tenth Count, Plaintiff seeks monetary damages and a declaration that the

Z Capital exclusive possession and control over what should be common elements of the

NCBCA violate Chapter 718 of the Florida Statutes.

      (xi)       On the Eleventh Count, Plaintiff seeks monetary damages in the amount of the

assessments wrongfully imposed by Z Capital in violation of the Florida Homeowners’

Association Act and a declaration that Z Capital’s operation of the Property violates Chapter 720

of the Florida Statutes.

     (xii)       On the Twelfth Count, Plaintiff seeks a declaratory judgment that the Master

Declaration includes an embedded recreational lease subject to the provisions of Fla. Stat.

718.401(f)(1).

     (xiii)      On the Thirteenth Count, Plaintiff seeks monetary damages and a declaration that

the Z Capital’s imposition of unconscionable, unfair and unreasonable obligations on the

Plaintiff and its Unit Owners violates Chapter 718 of the Florida Statutes.




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     (xiv)       On the Fourteenth Count, Plaintiff seeks monetary damages in the amount of the

assessments wrongfully imposed by Z Capital in violation of the Florida Homeowners’

Association Act and a declaration that Z Capital is operating the Property in an unfair and

reasonable manner, in violation of Section 720.309(1), Fla. Stat.

     (xv)        On the Fifteenth Count, Plaintiff seeks a declaration under Sections

720.307(1)(a),     720.307(3), and 720.3075, Fla. Stat., that (a) the members of the Master

Association other than Z Capital are entitled to elect at least a majority of the members of the

board of directors of the association; (b) the Articles of Incorporation of the Master Association

violate Section 720.307(1)(a), Fla. Stat., in that Z Capital controls a majority of the votes, and

therefore those provisions granting Z Capital a post-turnover majority of votes should be

stricken; and (c) the March 2016 Amendment is null and void.

     (xvi)       On the Sixteenth Count, Plaintiff seeks a declaration that the planned renovations

and assessments are unlawful under Florida law and a preliminary injunction prohibiting Z

Capital from altering the commonly-used facilities until and unless there is a final determination

of the merits of the claims in this case.

     (xvii)      On all Counts, Plaintiff also seeks any additional relief in law or equity as the

Court may deem necessary, just and equitable under the circumstances.

    (xviii)      On all Counts, Plaintiff also seeks costs and legal fees insofar as it is entitled to

costs and fees under applicable law.




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Dated: November 7, 2016                            Brown Rudnick LLP
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